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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
   -----------------------------------------------------------------------x
   ROBERT BARTLETT et al.,                                                :
                                                                          :
                      Plaintiffs,                                         :   Case No. 19-cv-7 (CBA)(TAM)
                                                                          :
             -against-                                                    :
                                                                          :
   SOCIÉTÉ GÉNÉRALE DE BANQUE AU LIBAN SAL :
   et al.,                                                                :
                                                                          :
                      Defendants.                                         :
   -----------------------------------------------------------------------x




          PLAINTIFFS’ REPLY MEMORANDUM OF LAW IN SUPPORT OF
   THEIR MOTION TO COMPEL DEFENDANTS TO PRODUCE DOCUMENTS AND TO
    OVERRULE DEFENDANTS’ LEBANESE BANK SECRECY OBJECTIONS AND IN
    OPPOSITION TO DEFENDANTS’ CROSS-MOTION FOR A PROTECTIVE ORDER
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                    Sunlight is said to be the best of disinfectants, electric light the most
                    efficient policeman.

                                            - Louis D. Brandeis
                                              Other People’s Money: And How the Bankers Use It.

                                                        ***

                                       PRELIMINARY STATEMENT

           Plaintiffs move to compel each of eleven Lebanese bank defendants (the “Defendants” or

   the “Banks”)1 to search for and produce Lebanese bank records for 687 individuals and entities

   that have been identified in the Second Amended Complaint (“Complaint” or “SAC”) or by the

   U.S. government (or both) as affiliated with Hezbollah, a U.S. designated Foreign Terrorist

   Organization since 1997. As the District Court has recognized, “Plaintiffs have not alleged an

   isolated provision of financial services to Hezbollah. Rather, they allege a wide-ranging, years-

   long, knowing scheme of coordination in which Defendants acted as Hezbollah’s core financial

   service-providers.” 2020 WL 7089448, at *11 (E.D.N.Y. Nov. 25, 2020). The Court also

   acknowledged that the Complaint alleges that “Hezbollah operates a commercial apparatus known

   as the Business Affairs Component, which raises funds for Hezbollah via money laundering and

   drug trafficking, as well as via ordinary business enterprises. Much of the money that Hezbollah

   makes through such commercial activity comes from certain well-known crime networks or ‘clans’

   known to be affiliated with Hezbollah.” Id. at *2 (citations to SAC omitted).

           Yet, Defendants’ Memorandum2 cannot bring itself to even mention Hezbollah’s Business



   1
            The Moving Defendants are (1) Société Générale de Banque au Liban S.A.L., (2) Fransabank S.A.L., (3)
   MEAB Bank s.a.l., (4) BLOM Bank S.A.L., (5) Byblos Bank S.A.L., (6) Bank Audi S.A.L., (7) Bank of Beirut S.A.L.,
   (8) Lebanon & Gulf Bank S.A.L., (9) Banque Libano-Française S.A.L., (10) Bank of Beirut and the Arab Countries
   S.A.L., and (11) Fenicia Bank SAL.
   2
            Joint Memorandum of Law in Support of Moving Defendants’ Motion for Protective Order and In Opposition
   To Plaintiffs’ Motion To Compel (“Defs. Mem.”).



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    Affairs Component – the wellspring of the central allegations of this case. This is not an oversight.

    Neither Defendants’ briefing on the motions to dismiss the first amended complaint nor their most

    recent efforts to dismiss the SAC even mention, let alone address, Hezbollah’s Business Affairs

    Component. Thus, Defendants’ motion for a protective order, like their motions to dismiss this

    case, is premised on opposing an invented set of allegations rather than confronting the “wide-

    ranging, years-long, knowing scheme” actually alleged here.3

            As Plaintiffs’ opening Memorandum of Law in Support of its Motion to Compel

    (“Plaintiffs’ opening brief”) noted at 28, in terrorism cases, courts uniformly reject bank secrecy

    objections because they impede the critical U.S. interests in deterring and punishing terrorist

    attacks upon American citizens. Defendants do not (and cannot) dispute this precedent and

    therefore focus their attentions elsewhere by opposing Plaintiffs’ document requests and seeking

    a protective order on four alternative grounds:

                 (1) Sequencing: That addressing Defendants’ bank secrecy objections now is
                     premature;

                 (2) Relevance and Overbreadth: That the requests are overbroad and
                     “indiscriminate;”

                 (3) Undue Burden: That the requests would impose a “crippling” burden on
                     Defendants; and

                 (4) Restatement Balancing: That Restatement balancing factors, despite being
                     “premature,” favor granting a protective order.

            None of these objections is meritorious.

            Sequencing of Motion Practice: The procedural sequencing of Plaintiffs’ motion to

    compel and Defendants’ motion for a protective order, both originally scheduled as part of the



    3
            For example, the SAC lists multiple individual customers of specific Defendants involved in Hezbollah’s
    weapons trafficking business, including, inter alia, Muhammad Bazzi, SAC, ¶¶ 762-65, 1209; Imad Bakri, id., ¶¶ 812-
    26; Hasan Antar Karaki and Dib Hani Harb, id., ¶¶ 1189-1206; Mustafa Reda Darwish Fawaz, id., ¶¶ 1210-25, and
    Muhammad Mustafa Nur-al-Din, id., ¶ 1815.


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    Court’s December 13, 2021, Minute Order, and as modified on May 10, 2022, was structured at

    Defendants’ request and according to Defendants’ preferred timetable.

           Although Defendants now insist the Court should proceed with the lengthy Letters

    Rogatory process before considering their bank secrecy objections, they rejected Plaintiffs’

    attempts to do so eight months ago. In November 2021, Defendants declined Plaintiffs’ invitation

    to present a stipulated document request for 20 individuals and entities that would have been used

    as the basis for Letters Rogatory. At the same time, Plaintiffs also provided a provisional list of

    678 persons and entities for whom they would be seeking discovery – thereby affording

    Defendants an opportunity both to evaluate and discuss the scope of Plaintiffs’ proposed discovery

    and to seek customer waivers. Plaintiffs’ letter and exhibits are attached to the accompanying

    Declaration of Dina Gielchinsky (“Gielchinsky Decl.”) as Ex. A. Defendants contended that any

    Letters Rogatory “should await the Court’s ruling on the discovery motions, as to both bank

    secrecy objections and equally important scope issues,” Gielchinsky Decl., Ex. B, and submitted

    a proposed briefing schedule in which they would “submit Letters Rogatory or Requests for

    Judicial Assistance as to initial RFPs” after “ruling on objections raised by discovery motions

    including bank secrecy,” ECF No. 263.

           Seven months later, after declining to agree to ask this Court to issue Letters Rogatory and

    having failed to seek customer waivers from the list of accountholders Plaintiffs provided

    previously (or even for those 156 accountholders specifically identified in the Complaint),

    Defendants now argue that assessing their bank secrecy objections is “premature.” But

    Defendants’ position constitutes not simply an about-face – it is also nonsensical. Neither prior

    precedent nor common sense precludes this Court from simultaneously assessing the proper scope

    of initial discovery and the merits of Defendants’ foreign bank secrecy objections – as Defendants’




                                                    3
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    own proposed schedule requested.4

            Moreover, under the circumstances of this case, it is unclear how deciding bank secrecy

    could be premature. The parties do not dispute the fact that, absent customer waiver, Lebanese law

    prohibits disclosures of much of the information sought by Plaintiffs’ requests. Because Lebanese

    law conflicts with Defendants’ discovery obligations under U.S. law, delay is pointless because,

    by definition, any document production order issued by this Court will likely require the

    Defendants to produce materials in violation of Lebanese law. Neither the extremely remote

    prospect of some voluntary waivers from among the hundreds of Hezbollah-affiliated individuals

    and entities listed in the Complaint and Plaintiffs’ requests (including more than 190 Specially

    Designated Global Terrorists (“SDGTs”) and Specially Designated Narcotics Traffickers

    (“SDNT”)), nor the equally remote prospect of Lebanese authorities permitting disclosure of the

    financial records of Hezbollah’s extended network of operatives and companies belonging to its

    Islamic Jihad Organization is likely to “obviate the need for this Court to address Lebanese law.”

    Defs. Mem. at 3.

            By arguing that the Court must (1) separately consider the initial scope of discovery and

    (2) only perform its international comity analysis after Letters Rogatory are issued and the

    responses from the Lebanese authorities are received and the results of Defendants’ attempts to

    procure waivers from their customers are known, Defendants ignore that the Restatement’s factors

    include scope and specificity of the discovery sought as part of the assessment of bank secrecy

    objections, not independent of it. Faced with objections to discovery based upon foreign law, the

    court’s first step – at issue here – is to determine in accordance with the Restatement whether the



    4
            As discussed more fully below, courts in this District have taken various approaches to sequencing,
    depending in large measure on how the non-producing party responds to the initial discovery requests.



                                                        4
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    balance of interests weighs in favor of compelling or excusing discovery of evidence in the foreign

    jurisdiction.5 Reviewing the specificity of Plaintiffs’ requests is intrinsically part of that balancing

    test (as applied in this Circuit) at the initial stage to determine whether the interests of the foreign

    jurisdiction are sufficiently compelling to excuse the non-producing party from discovery. See

    Restatement (Fourth) § 426, cmt. (a) (“the degree of specificity of the request”).

            Far from premature, considering bank secrecy now could mean that, if the Court agrees

    with Defendants that the Restatement factors favor deferring to the interests of Lebanon, then they

    would be excused from producing financial records from Lebanon regardless of the “degree of

    specificity of the requests.” But, presumably aware that (their arguments notwithstanding) the

    balance of interests weighs heavily in favor of compelling discovery, Defendants now urge the

    Court to divorce the “specificity of the requests” factor of the balancing test from the other

    Restatement factors, before considering bank secrecy at all.

            After a discovery order rejecting bank secrecy objections is issued, courts will often (but

    not always) afford the producing party an opportunity to seek permission from foreign regulators,

    courts and/or customers (or an additional opportunity if the party has already unsuccessfully sought

    such permission at the outset with no discovery order to bolster its request) before undertaking the

    next step of determining an appropriate sanction and/or remedy for the non-producing party’s

    refusal to comply with discovery. Then, at the remedy stage, a court undertakes a further

    international comity analysis, again taking into account the interests of the foreign jurisdiction and

    weighing them against the prejudice to the party or parties who have been deprived of discovery

    the court has found warranted.



    5
             See Wultz v. Bank of China Ltd., 910 F. Supp. 2d 548, 552-53 (S.D.N.Y. 2012) (listing the five Restatement
    factors adopted by the Supreme Court in Aérospatiale and the two additional factors considered by courts in the
    Second Circuit).


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           Relevance and Overbreadth: Defendants argue that Plaintiffs’ requests present “no

    principled or discernable limitations on the discovery,” but the requests are self-evidently limited

    to information concerning Hezbollah operatives and entities that are at the heart of this case.

    Moreover, Defendants do not seriously dispute the relevance of the types of records requested –

    transactional records, account opening records and compliance files, and internal communications

    about Hezbollah-affiliated customers – to a case about whether they knowingly provided

    substantial assistance to Hezbollah. Nor do Defendants even mention, let alone dispute, the fact

    that in Linde v. Arab Bank, Plc, the Court ordered discovery of more than 15,545 distinct sets of

    records for recipients of terrorism-related payments – an order the Second Circuit found “in line

    with [Second Circuit] precedent” including the “specificity of the discovery requests.” Linde, 706

    F.3d 92, 115 (2d Cir. 2013).

           Instead, they insist that discovery should be limited to:

               1. Three specific Hezbollah entities mentioned in the District Court’s decision
                  or at most, customer accounts identified in the Complaint.

               2. Individuals and entities publicly known to have been closely intertwined
                  with Hezbollah’s terrorist acts.

               3. Transactions that “relate” to terrorism or “terrorist activity” in some
                  undefined way.

               4. The time period ending with the last attack at issue (November 2011).

           These proposed limitations simply ignore the actual scope of the case brought on behalf of

    over a thousand Americans crushingly harmed as a result of terrorist attacks and which – in the

    District Court’s words – alleges “a wide-ranging, years-long, knowing scheme of coordination in

    which Defendants” were involved in commercial activities of Hezbollah’s Business Affairs

    Component and “certain well-known crime networks or ‘clans’ known to be affiliated with

    Hezbollah.” 2020 WL 7089448, at *1, *11.



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           Instead, Defendants ask the Court – without support – to put the proverbial cart before the

    horse, suggesting Plaintiffs first provide evidence that particular individuals and entities were bank

    customers before obtaining discovery of that evidence and arguing that discovery should be limited

    to specific accounts already alleged in the Complaint—that is, whatever Plaintiffs were able

    surmise before discovery.

           They further assert that:

           No Moving Defendant is alleged to have provided banking services to more than
           38 of these individuals or organizations, and the great majority of the nearly 700
           listed names are not alleged to have had any banking relationship with any Moving
           Defendant.

    Defs. Mem. at 10-11 (emphasis in original). Separate and apart from the fact that Plaintiffs’

    proposed document production order (“Proposed Document Production Order”) would further

    narrow Defendants’ obligations to producing records for those individuals or organizations with

    whom they did have banking relationships, even Plaintiffs’ requests largely focused on

    Defendants’ customers; and when they sought “transactional records” for counterparties as well as

    customers, those records were the most likely to be maintained in a searchable electronic form,

    such as in Defendants’ SWIFT databases.

           Thus, Defendants’ complaint about “nearly 700 listed names” largely boils down to an

    objection to searching for such accounts, which does not seem like a “crippling burden” – to use

    Defendant’s hyperbole, Defs. Mem. at 2 – for a bank to perform. If anything, identifying customer

    accounts is a typical function that banks routinely perform for any number of reasons. And, as

    discussed below, while such searches may be time consuming, Defendants offer no plausible

    rationale for why third-party correspondent banks are able to (and indeed compelled to) conduct

    searches for customer and non-customer transactions for largely the same individuals and entities,




                                                      7
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    but it would violate Rule 26’s proportionality principle for Defendants to search for the same types

    of records.

            As discussed extensively below, even the limited third-party document production so far

    made in this case has yielded confirmation that Defendants maintained one or more accounts for

    at least 49 Hezbollah-affiliated persons and entities that were not previously identified in the SAC

    as linked to those specific Defendants; additionally, a recent public disclosure in Lebanon has

    revealed that Defendant Byblos Bank alone held an additional 27 previously unidentified accounts

    for Hezbollah-affiliated persons and entities.

            Moreover, as Defendants well know, their assertion that only records for individuals and

    entities publicly known to have been closely intertwined with terrorist acts are relevant, Defs.

    Mem. at 9, is a complete inversion of the legal standard articulated by the Second Circuit in Kaplan

    v Lebanese Canadian Bank, SAL. There, the Court held that, for example, public statements by

    Hezbollah reported in the media identifying certain bank customers as belonging to the

    organization provided a plausible inference for pleading the bank’s knowledge – but it also noted

    that the “extent to which there is evidence to support the allegations as to Hizbollah’s statements

    and as to whether LCB knew or should have known of them is a matter more appropriate for

    discovery.” 999 F.3d 842, 865 (2d Cir. 2021) (emphasis added). Nor is a defendant’s knowledge

    of a customer’s affiliation limited to instances where the customer is designated an SDGT by the

    U.S. government. Contra Defs. Mem. at 9. As the District Court most recently affirmed, “it would

    defy common sense to hold that such knowledge” of the customers’ affiliation with a terrorist

    organization “could be gained in no other way.” ECF No. 291 at 4 (quoting Kaplan, 999 F.3d at

    864).

            This brings us to Defendants’ final relevance objection, which is that Plaintiffs’ requests




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    seek records after the last attack in the case (November 14, 2011). Defendants devote three full

    pages to the purported irrelevance of evidence of the migration of Hezbollah-linked accounts at

    LCB to Defendants, describing this as “Plaintiffs’ bald speculation that some unspecified

    documents within the broad swaths they request might shed light on a Moving Defendant’s state

    of mind during the Relevant Time Period [which] is hardly enough to justify the fishing expedition

    they seek to conduct.” Defs. Mem. at 17 (emphasis in original). But this simply ignores the District

    Court’s holding that Plaintiffs’ allegations “that Defendants allowed ‘blacklisted’ accounts to

    migrate to their own banks after those accounts were forcibly closed at LCB due to their

    association with Hezbollah” constituted one of several factors, taken together, that “depict

    Defendants as essential financial enablers of Hezbollah’s known front organizations.” 2020

    WL 7089448, *12.

            The District Court further held that:

            [T]he Amended Complaint alleges that Defendants continued to provide services
            to customers even after their accounts had been forcibly closed at LCB. This factor
            ‘may afford evidence of the defendant’s state of mind.’ Halberstam, 705 F.2d at
            484. The continued provision of financial services to these blacklisted
            account-holders certainly evinces a culpable, or at least willfully blind state
            of mind.

    Id. at *14 (emphasis added; complaint citations omitted). The same reasoning applies with equal

    force to accounts held for SDGTs.6 Thus, the Court has made it clear that the “continued provision

    of financial services” to Hezbollah-affiliated customers is highly relevant to each Defendant’s

    state of mind. Moreover, Plaintiffs’ requests for documents post-2011 is narrowly tailored because

    they are limited to (1) Hezbollah-affiliated customers who maintained accounts with Defendants



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              Defendants have argued that “the SAC is conspicuously silent on whether any Moving Defendant provided
    financial services to any SDGT after its designation.” Defs. Mem. at 10 (emphasis in original). Of course, the
    appropriate method for determining whether a defendant provided financial services to any SDGT after its designation
    is for that defendant to properly respond to document requests and interrogatories that seek that information.


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    even after their accounts had been forcibly closed at LCB and (2) Hezbollah-affiliated SDGTs.

           Undue Burden: Defendants assert that “attempting to comply with these Requests would

    impose a crippling burden on the Moving Defendants. For this reason alone, Plaintiffs’ motion to

    compel must be denied.” Defs. Mem. at 2. Yet, unless each Defendant maintained accounts for

    hundreds of Hezbollah-affiliated individuals and entities, Defendants’ burden would not even be

    substantial, let alone “crippling.” Moreover, Plaintiffs’ Proposed Document Production Order

    (attached as Exhibit 1) would limit the Defendants’ searches to their electronic records (aside from

    compliance records of those individuals and entities confirmed to have been customers of each

    respective bank). With few exceptions, Defendants have declined to even conduct initial electronic

    searches to determine whether they have responsive records. As described more fully below, the

    recent disclosures concerning Byblos Bank highlight the fact that many if not all Lebanese banks

    keep their own lists of their current and former Hezbollah-affiliated customers, perhaps as part of

    their efforts to forestall U.S. government regulatory actions and maintain their correspondent

    banking relationship in New York. See, e.g., Expert Declaration of Marshall Billingslea

    (“Billingslea Decl.”), ECF No. 270-20, at ¶¶ 59, 64.

           But even if, like all other courts that have considered the issue, this Court were to find the

    balancing of interests here favors ordering disclosure, Defendants assert that the “burden of

    searching for this many names without any allegations tying them to each (or any) particular

    Moving Defendant on its own outweighs the potential benefit to Plaintiffs.” Defs. Mem. at 26

    (emphasis added).

           In other words, Defendants believe that a lawsuit alleging their involvement in terror

    financing for Hezbollah and aiding and abetting and conspiring in the murders and maiming of

    over 300 American service members cannot justify the “burden” of even undertaking to search for




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    Hezbollah-affiliated customers. This blatant contempt for Plaintiffs and the harm caused to them

    is further highlighted by the fact that Defendants are more than content to shift the search burden

    to third-party correspondent banks and Plaintiffs.

           Finally, foreign bank secrecy is not a mechanism for offloading a defendant’s discovery

    obligations to third parties, inverting the expected burdens in discovery. Third parties generally

    are not in possession of Defendants’ compliance records or internal communications and they may

    have destroyed transactional records Defendants retained. Defendants’ urged rule of waiting on

    the production by their correspondent banks before conducting a comity analysis, Def. Mem. at 3,

    40-41, is the equivalent of a doctor’s office refusing to provide a list of patients or their medical

    records but suggesting that information could be gleaned from subpoenas to 20 health insurance

    companies who may have received reimbursement requests and retained some of that information.

           All that said, Plaintiffs’ Proposed Document Production Order nevertheless attempts to

    address Defendants’ expressed concerns about searching for and producing information and

    documents contained in hard copy by focusing on electronic records and limiting the initial hard

    copy production solely to compliance records of those individuals and entities confirmed to have

    been customers of each respective bank. A detailed explanation of the Proposed Document

    Production Order is set forth below.

           Restatement Balancing: The Defendants argue that it is premature for the Court to

    determine whether to overrule their Lebanese bank secrecy objections because it does not yet know

    (1) “whether, and to what extent, the Lebanese government will lift bank secrecy restrictions to

    accommodate properly tailored requests;” (2) whether any of their customers or former customers

    will consent to the production of their bank records; and (3) whether they have “enough

    information to determine whether there are alternative means of obtaining the requested discovery




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    because Plaintiffs have yet to receive productions in response to their third-party subpoenas.”

    Defs. Mem. at 33. Left unsaid is that Defendants rejected Plaintiffs’ offer in November 2021 to

    work jointly to submit a sample of 20 individuals and entities through Letters Rogatory to first

    ascertain the willingness of the Lebanese government to lift bank secrecy restrictions. Also left

    unsaid is that Defendants have known the names of the 156 individuals and entities listed in the

    SAC as their customers for the past 18 months and have not indicated that they have attempted to

    obtain waivers even from this subset of Hezbollah-affiliated customers. (And one cannot seriously

    believe that a substantial number, if any, of these Hezbollah operatives and entities are going to

    give such consent, notwithstanding Defendants’ pretense that customer waivers could “even

    obviate the need for this Court to address Lebanese law,” id. at 3.) Defendants also elide the glaring

    fact that no alternative means exist for obtaining Defendants’ account records, compliance files and

    internal communications – the very heart of Plaintiffs’ case. Finally, Defendants neglect to cite any

    cases suggesting that either Letters Rogatory or attempted customer waivers are a prerequisite to

    performing the Restatement’s balancing test.

           As for the actual Restatement analysis, apart from denigrating the U.S. interest in the fair

    adjudication of the claims in this case and arguing that transactional and compliance records for

    their hundreds of Hezbollah-affiliated customers are not important or lack specificity, Defendants

    primarily assert that Lebanon has a more compelling interest in preserving the privacy of those

    Hezbollah-affiliated customers by having its bank secrecy laws applied and enforced. But they

    never address, let alone distinguish, the finding that when “the U.S. interest ‘in fully and fairly

    adjudicating matters before its courts’ is combined with its interest in combating terrorism, the

    U.S. interest ‘is elevated to nearly its highest point, and diminishes any competing interests of the

    foreign state.’” Wultz, 910 F. Supp. 2d at 559 (quoting Strauss v. Credit Lyonnais, S.A., 249 F.R.D.




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    429, 443 (E.D.N.Y. 2008)). Accord, e.g., Weiss v. Nat’l Westminster Bank, PLC, 242 F.R.D. 33,

    46 (E.D.N.Y. 2007). For the reasons set forth herein and in Plaintiffs’ opening brief, the

    Restatement balancing test overwhelmingly supports the Court overruling Defendants’ foreign

    bank secrecy objections.

                                              BACKGROUND

           A.      THE LAW OF THE CASE

           Defendants claim without support that the “Court’s opinion denying the Moving

    Defendants’ motion to dismiss sustained the Complaint’s allegations only with respect to

    Plaintiffs’ ‘strongest allegations.’” Defs. Mem. at 10. In fact, the Court rejected Defendants’

    motions to dismiss Plaintiffs’ aiding and abetting and conspiracy claims in their entirety and then

    reaffirmed its decision, noting that recent Second Circuit decisions “both discuss the Halberstam

    elements, but both alter the law in Plaintiffs’ favor.” ECF No. 291 at 3. As Plaintiffs have

    consistently maintained, the proper framework for determining aiding-and-abetting liability under

    JASTA is set forth in the decision Halberstam v. Welch, 705 F.2d 472 (D.C. Cir. 1983), which

    identifies three elements of aiding-and-abetting liability: “(1) the party whom the defendant aids

    must perform a wrongful act that causes an injury; (2) the defendant must be generally aware of

    his role as part of an overall illegal or tortious activity at the time that he provides the assistance;

    [and] (3) the defendant must knowingly and substantially assist the principal violation.” Id. quoting

    Halberstam, 705 F.2d at 477.

           The District Court’s decisions largely speak for themselves and conclusively reject

    Defendants’ arguments, but it is worth pointing out that the Court also specifically endorsed Est.

    of Henkin v. Kuveyt Turk Katilim Bankasi, A.S., 495 F. Supp. 3d 144 (E.D.N.Y. 2020) (“Henkin”)

    as “a well-reasoned recent opinion” that:




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              provides a cogent explanation of why plaintiffs are entitled to rely on circumstantial
              evidence to support the general awareness prong of aiding-and-abetting liability. In
              rejecting a defendant’s motion to dismiss a JASTA claim, the Henkin court
              explained that at the pleading stage, ‘terrorist victims and their families
              understandably do not have conclusive evidence that bank officials or compliance
              staff had actual knowledge of various red flags that could have apprised them
              of their customer’s nefarious activities.’

    2020 WL 7089448, at *10. Obtaining “conclusive evidence that bank officials or compliance staff

    had actual knowledge of various red flags” is a core aspect of the discovery Plaintiffs seek.

    Moreover, while Plaintiffs’ Complaint was able to identify 156 Hezbollah-affiliated accounts held

    by Defendants (itself a staggering number), as set forth herein, there is no reason to be believe that

    number is the outer limit and every reason to believe it is not – given that various public disclosures

    and productions from third parties have identified more than 75 Hezbollah-affiliated accounts at

    Defendant banks separate from the 156 previously identified in the SAC.

              B.     RELEVANT PROCEDURAL HISTORY AND THE MEET-AND-
                     CONFER PROCESS

              Following the status conference held with the Court on October 8, 2021, Plaintiffs

    proffered to Defendants a draft discovery plan approximately two weeks before the parties held a

    Rule 26(f) conference on November 5, 2021. Three days after the Rule 26(f) conference, Plaintiffs’

    counsel wrote to Defendants based on that discussion providing Defendants with two lists that

    Defendants requested: (a) a proposed subset of Defendants’ alleged customers that Plaintiffs would

    proffer for Letters Rogatory (Exhibit A thereto) and (b) a proposed initial Request for the

    Production of Documents (“RFP”) (Exhibit B thereto). See Gielchinsky Decl., Ex A. The letter

    stated:

              Under our proposal – with the parties’ consent – the Court would issue Letters
              Rogatory to the applicable Lebanese authorities for a discrete subset of
              customers in order to establish, in an efficient manner, whether the Lebanese
              authorities will waive their objections to disclosures. As Exhibit A indicates,
              the subset of alleged customers includes commercial entities, non‐
              governmental entities, and individuals, comprising alleged customers of all


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           Defendants, thereby providing a representative sample of what full discovery
           would look like. We believe Exhibit A could be converted into Letters
           Rogatory expeditiously and that the Lebanese authorities could, depending on
           how quickly the Court issued the Letters Rogatory, be expected to respond by the
           end of February 2022.

           In parallel, we propose to serve an initial RFP that is substantially reflected in
           Exhibit B and reflects a much wider scope of initial discovery. Defendants would
           then interpose any objections they have, including as to scope, relevance, etc., in
           addition to bank secrecy. Once Defendants either receive a response from the
           Lebanese authorities or an agreed upon time has elapsed without a response,
           Plaintiffs would file a motion to compel (subject to the response from the Lebanese
           authorities). Defendants could raise any objections to the RFP they deem
           appropriate, including Lebanese bank secrecy. Thereafter, the Court would
           adjudicate the dispute and issue a production order, if appropriate.

           The advantage of proceeding on parallel tracks is that the parties can identify and
           narrow any objections, including as to scope and relevance, unrelated to bank
           secrecy, while the Letters Rogatory process proceeds. The briefing on a motion to
           compel and the Court’s ultimate adjudication of those issues would also provide
           the parties with considerable guidance on the scope of discovery at a relatively early
           stage. If Defendants’ bank secrecy objections are overruled, the production order
           (and the decision underlying it) would provide the Lebanese authorities with
           additional insights as to the import and nature of the judicial proceedings before the
           Court. Of course, if the Court ruled in Defendants’ favor on Lebanese bank secrecy,
           that would also relieve Defendants’ discovery burdens considerably.

    Id. at 1-2 (emphasis added).

           After a follow-up letter from Plaintiffs on November 16, 2021, Defendants’ counsel replied

    on November 24, 2021. See Gielchinsky Decl., Ex B. After first stating Defendants’ view that

    “party discovery, through Requests for Production of Documents (‘RFP’) or otherwise, should

    await substantial completion of the ongoing third-party discovery from Moving Defendants’ U.S.

    correspondent banks,” Defendants then stated that party discovery “should not be initially limited

    to a bellwether letter rogatory concerning the entities and individuals on Exhibit A to your

    November 8 letter. Rather, party discovery should proceed in the normal course with both sides

    issuing RFPs and other discovery requests concerning the full range of issues in the case.” Id. at

    2.



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           Defendants’ letter then goes on to state:

           With regard to the Lebanese bank secrecy issue, Plaintiffs can issue an RFP with
           whatever document requests they consider appropriate as to the full range of
           allegedly relevant entities and individuals. Moving Defendants would thereafter
           respond raising all objections they consider appropriate, including objections under
           Lebanese bank secrecy laws, after which the parties would meet and confer in
           advance of any discovery motions. Consistent with Magistrate Judge Merkl’s
           comments during the October 8, 2021 hearing, letters rogatory to the Lebanese
           authorities should await the Court’s ruling on the discovery motions, as to
           both bank secrecy objections and equally important scope issues.

    Id. Thus, Defendants rejected Plaintiffs’ offer to proceed with targeted Letters Rogatory, arguing

    that Letters Rogatory should follow this Court’s review of its forthcoming bank secrecy objections.

           In response, Plaintiffs wrote on November 29, 2021, noting that in their view “nothing in

    Magistrate Judge Merkl’s October 8, 2021, Order suggested or implied that discovery was, or is,

    contingent on the ongoing third‐party discovery from Moving Defendants’ U.S. correspondent

    banks.” Gielchinsky Decl., Ex. C (emphasis in original). Plaintiffs then confirmed that “during our

    initial Rule 26(f) conference we offered you the alternative of commencing bellwether letters

    rogatory concerning the entities and individuals on Exhibit A to our November 8 letter, but we do

    not object to proceeding in the normal course with both sides issuing RFPs.” Id.

           On December 10, 2021, the parties submitted a joint letter, ECF No. 263, setting forth their

    competing proposed schedules for serving initial RFPs and briefing any objections to those RFPs,

    including those based on Lebanese bank secrecy. Notably, both sides set forth timetables for

    submission of Letters Rogatory or Requests for Judicial Assistance to Lebanon. Defendants

    proposed that they “submit Letters Rogatory or Requests for Judicial Assistance as to initial RFPs,

    if necessary following rulings on discovery motions including foreign bank secrecy” – “30 days

    after District Court ruling on objections raised by discovery motions including bank secrecy.” Id.

    (emphasis added).




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           Defendants do not dispute Plaintiffs’ description of Defendants’ subsequent failure to

    respond to Plaintiffs’ requests to meet and confer over their objections to Plaintiffs’ RFP by April

    18, 2022, as directed by the Court on December 13, 2021; nor do they dispute Plaintiffs’

    description of how they provided Plaintiffs with, in the case of some of the Defendants, only two

    or three business days to review their responses before the Plaintiffs’ May 2, 2022, deadline for

    filing their motion to compel, and how they failed to provide detailed citations to Lebanese law on

    which they intended to rely. See Plaintiffs’ opening brief at 50. In sum, the lead up to these motions

    has proceeded according to Defendants’ preferences and schedule.

           C.      THE RECENT BYBLOS BANK DISCLOSURES

           In June 2020, Antoine Dagher, a former senior compliance officer for Defendant Byblos

    Bank (and then current Byblos Bank employee), was brutally stabbed to death in a parking garage

    near his home. On June 4, 2022, a two-part investigative report on Lebanese television detailed

    the circumstances of the murder and the failure of the subsequent police investigation (despite

    CCTV cameras located in several locations in the area). Relevant here is that the Lebanese

    television report segments published internal Byblos Bank documents the victim reportedly

    possessed prior to his death, including Byblos Bank compliance files. The two news report

    segments (with subtitles provided) have been provided to the Court on a flash drive via FedEx. A

    copy of the one page of the key document disclosed in the report is attached as Gielchinsky Decl.,

    Ex. D and transcribed below:




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           This one page of what appears to be a multi-page document created in 2012 or 2013 lists

    the names of 30 Hezbollah-affiliated accounts at Byblos Bank. The document is particularly

    relevant here for four reasons.

           First, only three of the 30 Hezbollah-affiliated persons or entities listed were identified in


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    the SAC as holding accounts at Byblos Bank, thereby demonstrating that limiting Defendants’

    discovery obligations to accounts identified in the SAC is not only unduly restrictive as a matter

    of law but would also foreclose disclosure of Hezbollah-affiliated accounts Defendants already

    know they possess. Nor can it be an efficient use of judicial resources for Plaintiffs to continuously

    return to the Court every time they discover additional Hezbollah-affiliated accounts, whether

    through their own investigation or through third-party discovery.

            Second, the list demonstrates how Defendants like Byblos Bank may at times formally

    close certain accounts for U.S. designated SDGTs like the Martyrs Foundation (“Al Shaheed

    Charitable Association”) or Al-Qard al-Hassan (“AQAH”) but continue to maintain accounts for

    them through other account names (Al Rassoul Al Aazam Hospital, which belongs to the Martyrs

    Foundation, and Ahmad Yazbek & Abbas Ghorayeb & Hassan Osman, fronts for AQAH).7

            Third, the list demonstrates how Defendants like Byblos Bank maintain internal

    compliance records that track their past and present Hezbollah-affiliated accounts.8

            Finally, taken in the context of the news report and surrounding documents, the list appears

    to have been created in 2012 or 2013 (i.e., after November 2011) but is nevertheless highly relevant

    to this lawsuit as evidence both of Byblos Bank’s awareness of its role in maintaining accounts

    and performing financial services for Hezbollah as well as its willingness to continue providing

    assistance to undesignated Hezbollah-affiliated customers and to SDGTs operating under other

    names. In sum, the documents disclosed in the news report are precisely the kind of internal records

    Plaintiffs seek in this case and that cannot be obtained from third-party correspondent banks. They




    7
            The Spider Z leak discussed below indicates that the AQAH accounts were still active in late 2019.
    8
             Defendants claim it would be unduly burdensome to search, inter alia, for beneficial owners of accounts.
    Defs. Mem. at 29, n.31. But the Byblos Bank documents indicate that it was already tracking accounts it knew
    designated Hezbollah entities were holding under other names.


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    also clearly demonstrate that – far from conducting a “fishing expedition” – Plaintiffs’ core

    allegations concerning Hezbollah’s Business Affairs Component and its commercial activity

    through “certain well-known crime networks or ‘clans’ known to beaffiliated with Hezbollah”

    (like the infamous Tajideen clan whose Byblos Bank accounts are listed in the bank’s compliance

    documents transcribed above) are rooted in the evidence and warrant appropriate discovery.

            D.       THE SPIDER Z LEAK – AL-QARD AL-HASAN

            Prior to the disclosures concerning Byblos Bank in June of 2022, in late December of 2019,

    an anonymous hacking group calling itself “Spider Z” published an extensive series of records

    belonging to Hezbollah’s AQAH. According to the U.S. Treasury Department’s designation of

    AQAH-affiliated individuals shortly following the Spider Z leak, “AQAH, which was designated

    by OFAC in 2007, is used by Hizballah as a cover to manage the terrorist group’s financial

    activities and gain access to the international financial system.”9 Hezbollah has essentially run

    AQAH as a bank with nearly 400,000 “accounts” for individuals and entities, including (but by no

    means limited to) major Hezbollah entities and operatives, replete with its own branches and ATM

    machines.

            However, there are two limitations on AQAH’s role as a bank. First, given the size of its

    operations (controlling hundreds of millions of dollars in assets) and the fact that it was designated

    an SDGT in 2007, it is too prominent and moves too much money on a regular basis for Lebanese

    banks to allow AQAH to hold accounts in its own name. Second, given its designation and obvious

    affiliation with Hezbollah it could not and cannot organize as a bank and secure its own

    correspondent accounts in the U.S. and elsewhere. Thus, as the U.S. Treasury Department has

    found, AQAH indirectly accesses the global financial system via a number of Lebanese banks by


    9
            Press Release, U.S. Dep’t of the Treasury, “Treasury Targets Hizballah Finance Official and Shadow Bankers
    in Lebanon” (May 11, 2021), available at: https://home.treasury.gov/news/press-releases/jy0170.


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    maintaining accounts in the names of seven Hezbollah operatives (all designated on May 11,

    2021). These individuals “used the cover of personal accounts at certain Lebanese banks, including

    U.S.-designated Jammal Trust Bank (JTB), to evade sanctions targeting AQAH and transfer

    approximately half a billion U.S. dollars on behalf of AQAH.” Id.

            Most relevant here, the Spider Z leak disclosed that five of the Defendants (Byblos Bank,

    Fenicia Bank, MEAB Bank, Lebanon & Gulf Bank and SGBL) all held accounts for Hezbollah

    operatives on behalf of AQAH. When, for example, Byblos Bank issued a statement disputing that

    it held accounts for AQAH, the Spider Z hackers published a cash withdrawal slip issued by Byblos

    Bank for Abbas Ghorayeb (a/k/a Abbas Hassan Gharib), one of the Hezbollah operatives

    designated as an SDGT for his role as “AQAH’s informatics manager.” Gielchinsky Decl., Ex E.

    Mr. Ghorayeb is the same individual listed in the leaked Byblos Bank document described in

    section C above listing Hezbollah-affiliated accounts at the bank.

            The Spider Z documents are relevant here for three reasons.

            First, none of the AQAH accounts held at the five Defendant banks were identified in the

    SAC, once again demonstrating that limiting Defendants’ discovery obligations to accounts

    identified in the SAC would improperly foreclose the scope of discovery in this case.

            Second, both the Spider Z leak and the subsequent U.S. Treasury Department designations

    highlight not only how pervasive Hezbollah’s access to Defendants’ banking services is, but also

    the degree to which Defendants’ objections to searching for beneficial owners rings hollow.10

    Banks simply do not process a half-a-billion U.S. dollars for Hezbollah officials through their



    10
            In fact, after the AQAH data breach occurred, Defendants SGBL and Byblos Bank both issued public
    statements to Lebanese media denying they had accounts “in the name of al-Qard al-Hasan Association.” See
    Gielchinsky Decl., Ex F. Of course, the question is not accounts in the name of AQAH but the fact that as the U.S.
    Treasury Department noted infra, individuals “used the cover of personal accounts at certain Lebanese banks … to
    evade sanctions targeting AQAH and transfer approximately half a billion U.S. dollars on behalf of AQAH” (emphasis
    added).


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    personal accounts without noticing. As the former Assistant Secretary for Terrorist Financing and

    Financial Crimes at the U.S. Department of Treasury and former President of the Financial Action

    Task Force states in his declaration in this case:

           Both the fact that AQAH’s use of the banking system involved large sums of money
           for a decade and the fact that these well-known Hezbollah operatives continued to
           maintain joint bank accounts in multiple Lebanese banks demonstrate that despite
           both U.S. and (periodic) Lebanese governmental efforts, Hezbollah retains
           substantial access to Lebanon’s banking system.

    Billingslea Decl., ¶ 69.

           Finally, Spider Z documents from 2019 are clearly relevant to demonstrate certain

    Defendants’ willingness to substantially assist Hezbollah SDGTs like AQAH that operate through

    individuals to conceal their operations and obtain access to (among other things) U.S. dollar

    correspondent accounts. Such “continued” provision of financial services to blacklisted

    accountholders (if proven), in the Court’s words, “certainly evinces a culpable, or at least willfully

    blind state of mind.” 2020 WL 7089448, at *14.

                                               ARGUMENT

    I.     THE COURT CAN AND SHOULD DECIDE NOW BOTH THE SCOPE OF
           INITIAL DISCOVERY AND THE VALIDITY OF DEFENDANTS’ FOREIGN
           BANK SECRECY OBJECTIONS

           A.      Defendants Declined Plaintiffs’ Invitation to Proceed with Letters
                   Rogatory to Lebanese Authorities and Proposed the Very Process to
                   Which They Now Object

           Defendants’ own proposal to the Court on December 10, 2021, (ECF No. 263) explicitly

    contemplated submitting Letters Rogatory or Requests for Judicial Assistance “30 days after

    District Court ruling on objections raised by discovery motions including bank secrecy.” Adopting

    Defendants’ proposal, the Court directed the parties to “file any motions to compel or for protective

    orders as to unresolved objections to initial RFPs, including as to bank secrecy by 5/2/2022.”

    December 13, 2021, Minute Order (emphasis added).


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            Now that process is characterized as “Plaintiffs’ effort to jump ahead and force a decision

    on bank secrecy at this premature stage [that] would distort the normal and orderly process of

    discovery under the Federal Rules.” Defs. Mem. at 55. It is important to recall that Plaintiffs

    offered to commence discovery with Letters Rogatory for 20 accounts, but Defendants stated in

    their November 24, 2021, letter that “letters rogatory to the Lebanese authorities should await the

    Court’s ruling on the discovery motions, as to both bank secrecy objections and equally important

    scope issues.” Gielchinsky Decl., Ex. B at 2. Since then, seven months have elapsed. In that time,

    Defendants have produced no documents of any kind and most Defendants have stated that they

    decline even to determine whether they have responsive records.

            B.      Defendants Have Given No Indication They Have Sought Waivers from
                    Any of the 156 Customers Identified in the Second Amended Complaint
                    18 Months Ago and Such Requests for Waivers Are Highly Unlikely to
                    Be Successful

            The District Court denied Defendants’ motion to dismiss on November 11, 2020; Plaintiffs’

    Second Amended Complaint was filed on December 31, 2020 – more than 18 months ago. For all

    that time, Defendants knew, at a bare minimum, that the 156 Hezbollah-affiliated customers

    identified in the Complaint would obviously be the subject of discovery (indeed, the District Court

    rejected Defendants’ attempt to reimpose a stay of discovery on June 25, 2021). Moreover, because

    they requested a tentative list of individuals and entities from Plaintiffs’ counsel during the parties’

    Rule 26(f) conference on November 5, 2021, Defendants have known the basic scope of Plaintiffs’

    RFPs since November of last year. Yet, nothing in Defendants’ objections and responses to

    Plaintiffs’ requests or their Memorandum of Law suggest that they have sought any customer

    waivers since the commencement of the lawsuit more than 42 months ago or since the filing of the

    (post-motion to dismiss decision) Second Amended Complaint – or even since the time, more than




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    seven months ago, when they received an advance look at Plaintiffs’ requests. Gielchinsky Decl.,

    Ex. A.

             Moreover, Defendants’ invocation of customer waivers as an alternative means of securing

    discovery demonstrates that their real objective is delay, not disclosure. Consider for example the

    fact that Defendants are urging the Court to delay the case further so they can seek waivers from

    individuals who are currently subject to rewards of upwards of “$10 million for information on

    the activities, networks, and associates” from the U.S. government’s “Rewards for Justice”

    program. These include:

                     Muhammad Kawtharani
                     Ali Qasir
                     Adham Tabaja
                     Ali Youssef Charara
                     Mohammad Ibrahim Bazzi11
             The idea that these key Hezbollah operatives with bounties on their heads are going to give

    consent to their bankers to disclose their financial records or the financial records of the companies

    they control is highly implausible. That Defendants’ attempt to analogize their request to a U.S.

    bank’s offer “to make a client’s high-flying life easier” by waiving Swiss bank secrecy for client

    service purposes (not litigation), Defs. Mem. at 32 n.37, illustrates their refusal to acknowledge

    that this case is not about pleasing high-flyer bank customers, but a case about aiding and abetting

    and conspiring with a terrorist organization.

             C.       The Procedural History of Prior ATA Cases Involving Foreign Bank
                      Secrecy Make Clear That Ruling on Foreign Law Objections Now Is
                      Appropriate

             Each case is of course different and presents its own unique issues, but because Defendants



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             https://rewardsforjustice.net/rewards/muhammad-kawtharani/;         https://rewardsforjustice.net/rewards/ali-
    qasir/; https://rewardsforjustice.net/rewards/adham-husayn-tabaja/; ttps://rewardsforjustice.net/rewards/ali-youssef-
    charara/; https://rewardsforjustice.net/rewards/mohammad-ibrahim-bazzi/.



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    previously raised Linde v. Arab Bank, plc as a precedent that, they incorrectly argue, compels

    courts to sequence bank secrecy disputes in the way preferred by Defendants, and because

    Defendants misstated the procedural history of that case (and implicitly the sequencing of other

    bank secrecy cases), a discussion of Linde and certain other relevant cases is warranted.

           In both Linde and in Miller v. Arab Bank, plc, the parties first agreed to a Letters Rogatory

    process before the defendant made its bank secrecy objection—the same sort of arrangement

    Plaintiffs here offered, and Defendants rejected. In Strauss v. Credit Lyonnais, S.A., which is

    addressed in Section D, below, the court ruled on (and rejected) bank secrecy objections without

    any Letters Rogatory first being initiated.

                           1.      Linde v. Arab Bank, Plc

           After initially serving broad discovery requests, the plaintiffs in Linde submitted a Joint

    Modified Phase I Request seeking records for ten (reduced to nine) specific accounts identified as

    belonging to the families of Palestinian suicide bombers. 463 F. Supp. 2d 310, 312 (E.D.N.Y.

    2006). A month later, by agreement of the parties, the court ordered that “[t]he parties shall

    commence steps immediately to obtain the necessary permission from foreign regulatory

    authorities” for the production of records pertaining to those nine bank accounts. Linde, No. 04-

    cv-2799 (NG) (VVP), ECF No. 81 at 3. The defendant in that case, Arab Bank, then made

    applications to a Jordanian court for one account (denied on appeal on October 9, 2005) and a

    Palestinian court for seven other accounts (denied on October 2, 2005). ECF Nos. 108 (at 5) and

    113. On October 5, 2005, Arab Bank also sought permission directly from the Palestine Monetary

    Authority to authorize disclosure of the records for the seven accounts and that request was denied.

    2009 WL 8691096, at *4 (E.D.N.Y. June 1, 2009). As a result of a separate Stipulated Production

    Order dated November 8, 2005, Arab Bank applied to the Lebanese Special Investigation




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    Commission (“SIC”) for permission to disclose information relating to an account later determined

    to belong to Hamas leader Osama Hamdan. No. 04-cv-2799 (NG) (VVP), ECF No. 115. On

    January 25, 2006, the SIC granted Arab Bank’s application (though at the time, Arab Bank did not

    disclose that account records were in the United States, having been provided without consent of

    the SIC, to the U.S. Office of the Comptroller of the Currency). 2009 WL 8691096, at *4; 706

    F.3d at 98. Plaintiffs then moved to overrule defendant’s foreign bank secrecy objections and for

    sanctions for defendant’s refusal to produce. Linde, No. 04-cv-2799 (NG) (VVP), ECF No. 153.

           On March 3, 2006, recognizing that Arab Bank’s purported efforts to seek permission from

    certain foreign jurisdictions to produce records had failed and because Plaintiffs’ broader

    document requests could potentially implicate the laws of more than the three jurisdictions

    implicated by its prior orders, the court issued a wide-ranging document production order but

    reserved judgment on Arab Bank’s bank secrecy objections, first directing the bank to identify all

    jurisdictions whose bank secrecy laws would be implicated by the order by March 24, 2006. See

    Linde, No. 04-cv-2799 (NG) (VVP), ECF No. 160, ¶ 13. On November 25, 2006, the magistrate

    judge issued an order overruling defendant’s bank secrecy objections as to three jurisdictions

    (Lebanon, Jordan and the Palestinian Territories), and deferred ruling on the plaintiffs’ request for

    sanctions. 463 F. Supp. 2d at 317. The district judge subsequently rejected the defendant’s Rule

    72 objections to that ruling and urged the magistrate judge to set a prompt deadline by which the

    bank would determine whether it could secure permission to turn over the documents. 2007 WL

    812918, *2 (E.D.N.Y. Mar. 14, 2007).

           Thereafter, the magistrate judge issued what became the controlling document production

    order of May 7, 2007, calling for the production of 15,545 distinct sets of records for recipients of

    terrorism-related payments and production of records for 107 additional individuals and entities.




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    See Ex. C to the Schlanger Declaration attached to Plaintiffs’ opening brief (“Schlanger Decl.”),

    ECF No. 270-5 (Linde May 7, 2007, Production Order) and Ex. D, ECF No. 270-6 (Linde Rule

    1006 Trial Exhibit quantifying the number of individuals covered in paragraph 1 of the Linde

    court’s May 7, 2007, Production Order).12 Prior to issuing the May 7, 2007, order, the magistrate

    judge urged the defendant to “make a good faith effort to secure permission from the foreign

    authorities to make the information available.” Linde, 463 F. Supp. 2d at 316, aff’d, 2007 WL

    812918.

            It is worth noting that far from “running roughshod over the sovereign interests” of foreign

    jurisdictions, the Linde court hoped that its overruling of Arab Bank’s foreign bank secrecy

    objections might spur those jurisdictions to be more cooperative given the clear signal that the

    defendant would not be excused from discovery. The court stated that “[n]ow that this court has

    ruled that the bank secrecy laws of those jurisdictions will not serve as a bar to discovery ordered

    here, the defendant may be in a position to pursue avenues for obtaining permission to disclose the

    information from pertinent governments and authorities through letters rogatory or other devices,

    and should be given a specified period of time to do so.” Id. The court then signed Letters of

    Request to Palestinian and Jordanian banking authorities in June 2007 seeking waiver of foreign

    bank secrecy laws and permission to disclose documents responsive to plaintiffs’ requests. Linde,

    269 F.R.D. 186, 193-94 (E.D.N.Y 2010).

            When those Letters of Request were denied and defendant declined to produce, plaintiffs

    moved again for sanctions pursuant to Rule 37. See id. at 194. The resulting sanctions imposed by

    the magistrate judge and affirmed by the district court were platformed off the defendant’s refusal

    to comply with the Linde court’s May 7, 2007, order. Id.


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             Unlike the Proposed Document Production Order here, the Linde order made no distinctions between
    electronically stored and paper records.


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           Here, Defendants could have agreed to commence discovery by submitting Letters

    Rogatory as was done in Linde and Miller v. Arab Bank, plc (discussed below) but they declined

    that invitation and submitted their proposal for a schedule that contemplated full scale requests for

    production and objections followed thereafter by a schedule to “submit Letters Rogatory or

    Requests for Judicial Assistance as to initial RFPs, if necessary following rulings on discovery

    motions including foreign bank secrecy” – “30 days after District Court ruling on objections

    raised by discovery motions including bank secrecy.” ECF No. 263 (emphasis added).

           Until the filing of the present motions, the parties agreed on the principle that this Court

    should rule on both the scope of Plaintiffs’ discovery and the validity of Defendants’ bank secrecy

    objections concurrently. The parties’ sole disagreement concerned whether (in the event the Court

    overruled Defendants’ bank secrecy objections) any time limit should be placed on the subsequent

    Letters Rogatory process. See 12/13/21 Tr. at 18:20-25 (“What Plaintiffs want to do is impose an

    artificial and frankly premature deadline on when we have to put up or shut up, to use a common

    term. And we won’t know that. How can we possibly know at this stage how long it will take for

    the Lebanese authorities, given all that is going on in Lebanon and the complexity of these

    issues.”). This Court agreed with Defendants and declined to impose any time frame on any future

    Letters Rogatory process at this juncture.

                           2.      Miller v. Arab Bank, Plc

           In Miller v. Arab Bank, plc, the plaintiffs served their RFPs in July 2019 and the magistrate

    judge subsequently directed them to provide to the defendant “a short list of individuals and entities

    for whom Letters Rogatory should first be submitted.” No. 18-cv-02192 (HG) (PK), Sept. 24,

    2019, Minute Order. After the plaintiffs provided that agreed upon “short list” of putative

    customers, the defendant submitted Letters Rogatory which the court issued to Lebanon, Jordan,




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    and the Palestinian Authority. During that period between September 24, 2019, and January 29,

    2020, the parties exchanged correspondence and met and conferred regarding the relevance of

    bank records concerning the 677 persons and entities the RFPs identified, and defendant then

    confirmed that it would, on a non-waiver basis, produce responsive records located in the U.S. “for

    all persons and entities listed in plaintiffs’ RFPs….” – i.e., for all 677 persons and entities. After

    more than a year passed, Lebanon, Jordan, and the Palestinian Authority each refused to authorize

    disclosure regarding even the “short list” of putative customers. Thereafter, the defendant advised

    plaintiffs that it would not produce records responsive to the RFPs from Lebanon, Jordan, or the

    Palestinian Authority. No. 18-cv-02192 (HG) (PK), Joint Pre-Motion to Compel Letter, ECF No.

    77.

           When the plaintiffs advised that they intended to file a motion to compel, the defendant

    responded that it would seek a protective order because plaintiffs’ RFPs “are overly broad and lack

    proportionality” and that it should be afforded an opportunity to seek customer waivers before the

    court considered their bank secrecy objections. It also argued that the scope of the RFPs should be

    significantly curtailed because it “is unrealistic to believe that any customer will agree to have all

    of the transactions in their accounts over a multi-year period, no matter how unrelated to the claims

    at issue, produced to Plaintiffs. Nor should they.” Id. The bank also asserted that in order to justify

    each name listed on its RFPs “Plaintiffs must establish that the alleged customers were ‘closely

    intertwined with [the FTO’s] violent and terrorist activities.’” Id. (citations omitted).

           Having received the parties’ joint pre-motion letter, Magistrate Judge Kuo held a

    telephonic status conference to determine how the issues presented should be briefed (including

    on Lebanese bank secrecy). The defendant’s counsel argued that the proper scope of discovery

    should be decided first and then the bank should be given an opportunity to seek customer waivers




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    before the court returned to the bank secrecy issue. In response, Magistrate Judge Kuo stated:

           [T]he only issue that I think I need to decide today is the sequence, whether … they
           should be dealt with one after the other or whether they can be dealt with
           simultaneously. And based on what I’m hearing I think that the parties can deal
           with these two issues in the same brief. You can make the argument on one on the
           first half of the brief that talks about the scope, that it should be limited, so that I
           can consider it and under 26(C) and see if the scope should be limited. If it should
           be six years or one year or something of that nature. And then once I’ve made that
           decision move on to the assertion of bank secrecy as a reason that the defendant
           doesn’t have to produce the documents that are otherwise producible.

    No. 18-cv-02192 (HG) (PK), 1/20/22 Tr. at 33:16-34:5, ECF No. 81.

           Magistrate Judge Kuo expressed no objection if the defendant wanted to try to get customer

    consents while the briefing of the motion was underway but noted: “I am doubtful that you will

    get 677 consents. And so that’s part of my concern about giving you time to get the consents

    because I don’t think if you were to get a small number of consents that that would really

    affect the ruling or the need to rule on bank secrecy anyway.” Id. at 34:19-24 (emphasis added).

    The same reasoning pertains with equal force here.

           D.      Courts Do Not Routinely Require Plaintiffs to Proceed Under the
                   Hague Convention, Let Alone When Documents Are Resident in a
                   Jurisdiction That Is Not a Signatory to the Hague Convention

           Defendants tout the fact that Lebanon’s Special Investigation Commission (“SIC”) has the

    authority to lift Lebanese bank secrecy in certain contexts. See Defs. Mem. at 34. But Plaintiffs

    have never expressed an objection to Defendants submitting requests to the SIC (although past

    experience suggests that the process outlined by Mr. Moghaizel may be unduly burdensome) and

    even offered – more than seven months ago – to proceed with a sample list of 20 individuals and

    entities to submit to the Lebanese authorities. For a variety of reasons, Plaintiffs are highly

    skeptical that the SIC could or would ever lift bank secrecy for more than a fraction of the

    individuals and entities listed in Plaintiffs’ requests, given Hezbollah’s de facto control of Lebanon

    and the attendant risks of displeasing the terrorist group.


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           However, even in far more conventional circumstances involving jurisdictions that are

    signatories to the Hague Convention on the Taking of Evidence Abroad in Civil or Commercial

    Matters, Mar. 18, 1970, 23 U.S.T. 2555, TIAS No. 7444 (the “Hague Convention”), court have

    not required parties to resort to the Convention’s mechanisms when it finds the U.S. interest

    outweighs the foreign interest in its privacy laws.

           In Strauss v. Credit Lyonnais, S.A., an Anti-Terrorism Act case against a French bank, the

    court granted plaintiffs’ motions to compel discovery after weighing and balancing the relative

    interests of the parties and the national interests of the United States and France, holding that “the

    plaintiffs are entitled to Credit Lyonnais’s responses” to plaintiffs’ discovery demands (without

    first issuing any Letters Rogatory). 242 F.R.D. 199, 228 (E.D.N.Y. 2007). The defendant cross-

    moved for protective orders requesting that the court: (a) compel plaintiffs to seek discovery

    through the Hague Convention; and (b) excuse the bank from providing discovery protected under

    French bank secrecy laws. Id., No. 06-cv-00702 (DLI) (RML), ECF No. 117. The defendant

    submitted a letter it received from the French Ministry of Justice stating France’s position that the

    Hague Convention provides “the exclusive and mandatory” means of obtaining evidence in the

    territory of France, and further stating that discovery conducted outside the formal procedures of

    the Hague Convention would “clearly constitute a violation of the sovereignty of the French State.”

    Id., ECF No. 118 at 4.

           Nevertheless, the court denied the defendant’s motion, citing the Supreme Court’s

    Aerospatiale decision which explained:

           An interpretation of the Hague Convention as the exclusive means for obtaining
           evidence located abroad would effectively subject every American court hearing a
           case involving a national of a [signatory] state to the internal laws of that state.
           Interrogatories and document requests are staples of international ... litigation, no
           less than of other suits, yet a rule of exclusivity would subordinate the court’s
           supervision of even the most routine of these pretrial proceedings to the actions or,



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           equally, to the inactions of foreign judicial authorities.

    249 F.R.D. at 442 (citing Societe Nationale Industrielle Aerospatiale v. U.S. Dist. Ct. for

    S. Dist. of Iowa, 482 U.S. 522, 539 (1987)).

           As the Strauss court bluntly stated: “Defendant’s argument that American courts must

    defer and be subject to internal French law contravenes American law.” Id. at 443. Other courts

    have agreed. See, e.g., Wultz, 910 F. Supp. 2d at 559 (“I take seriously the mutual interest of China

    and the United States in the bilateral resolution of cross-border legal enforcement issues. But the

    Chinese interest in building confidence in its banking industry does not encompass an interest in

    protecting the confidentiality of those who participate in the funding of international terrorism.”);

    Laydon v. Mizuho Bank, Ltd., 183 F. Supp. 3d 409, 423-25 (S.D.N.Y. 2016) (finding that U.S.

    national interests in a putative class action alleging commodity manipulation outweighed the UK’s

    interests in its data privacy laws, and denying banks’ motion for an order directing discovery of

    UK documents through the Hague Convention).

           These cases, and others that agree with them referenced above, are “private, civil lawsuits”

    that Defendants assure this Court do not demonstrate the necessary U.S. interests to compel

    document production. Defs. Mem. at 3-4. And in all these cases, the foreign interests in enforcing

    their laws was found insufficient to outweigh the U.S. interests in proceeding with Rule 26

    discovery, despite Defendants’ argument that “forcing foreign banks to violate laws in countries

    like Lebanon actually undercuts the United States’ interest in fighting terror abroad.” Id. at 4.

           In this case, Lebanon is not even a signatory to the Hague Convention and while Plaintiffs

    were the ones who proposed commencing discovery with submissions of Letters Rogatory to the

    Lebanese authorities and who proposed permitting Defendants to submit Letters Rogatory “if

    foreign bank secrecy objections are overruled and motion to compel is granted” (ECF No. 263),

    there is simply no reasoned basis for the Court in this case to abrogate its December 13, 2021


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    Minute Order directing the parties to “file any motions to compel or for protective orders as to

    unresolved objections to initial RFPs, including as to bank secrecy by 5/2/2022” (emphasis added).

    All this is notwithstanding, of course, Defendants argue that the process they proposed (and the

    Court adopted) is “premature.”

    II.     THE SCOPE OF PLAINTIFFS’ REQUESTS IS ENTIRELY CONSISTENT WITH
            RULE 26 AND THE RESTATEMENT

            A.       Plaintiffs’ Document Requests Are Narrowly Tailored to Records for
                     Persons and Entities Identified in the Complaint or in U.S. Government
                     Designations as Part of Hezbollah and its Business Affairs Component

                     1.       Defendants Cannot Articulate a Principled Basis as to Why
                              Particular Persons or Entities, or Types of Transactions, Should
                              Be Excluded from the Court’s Production Order

            Defendants complain about having to search for 687 potential customers — about 5% of

    the number of individuals and entities ordered in Linde — but do not suggest a principled basis for

    refusing to search for the names of any of these potential customers.13 Instead, Defendants suggest

    that discovery in this case—a case alleging a “wide-ranging, years-long, knowing scheme of

    coordination in which Defendants acted as Hezbollah’s core financial service-providers,” 2020

    WL 7089448, at *11, on behalf of over 1,000 Plaintiffs, should be limited to three customers:

            For starters, Judge Amon’s motion-to-dismiss decision sustained Plaintiffs’ JASTA
            aiding-and-abetting claim only with respect to Plaintiffs’ “strongest allegations,”
            i.e., the provision of banking services to SDGTs that Plaintiffs alleged were
            publicly known to have been closely intertwined with Hezbollah’s terrorist
            activities. See ECF 164 at 26. Judge Amon went on to identify only three such
            entities: the Islamic Resistance Support Organization (“IRSO”), Martyrs
            Foundation, and the Imam Khomeini Relief Committee – Lebanon (“IKRC”). Id.
            The Requests should therefore be limited to account and compliance documents
            related to such alleged customers—and those Requests must be Bank-specific,

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             Conversely, Defendants point out that a court found unreasonable a request for client information for “over
    100,000 customers.” Defs. Mem. at 23 (quoting Trilegiant Corp. v. Sitel Corp., 272 F.R.D. 360, 366 (S.D.N.Y. 2010)).
    That court required the requesting party to narrow its request for information on 134,000 customers but permitted
    discovery “related to particular groups within the cohort of 134,000—such as customers who actually were lost from
    within that group or any customer within the group to complain or dispute a sale.” Id. Not only are requests for
    documents for 687 individuals and entities not analogous to a request for 134,000, but here the majority of the names
    requested here are identified in the SAC and all of them are directly relevant to Plaintiffs’ claims.


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           since each claim against each Moving Defendant must stand or fall on its own.

    Defs. Mem. at 13. Obviously, limited discovery to “customers identified in Judge Amon’s

    opinion,” id. at 10, would constitute a wholly arbitrary restriction to the handful of entities from

    the 803-page SAC the District Court happened to name in its 38-page opinion.

           Presumably recognizing how implausible their positions is, Defendants next suggest the

    Court limit the entities to those “publicly known at the Relevant Time Period to be closely

    intertwined with terrorist activities,” Defs. Mem. at 11 (although they do not explain why

    determining which individuals or entities were publicly known as Hezbollah-affiliated in Lebanon

    is now relevant when the evidentiary question is whether Defendants were generally aware of their

    role in an unlawful enterprise—presumably “public knowledge” could provide indirect evidence

    of generally awareness, but the direct evidence is in Defendants’ files and the testimony of their

    employees and officers).

           But the District Court’s decisions do not even hint at the limitations Defendants urge.

    Likewise, Defendants also argue that their then-pending second motion to dismiss would show a

    requirement that “any Moving Defendant provided financial services to any SDGT after its

    designation,” and their alleged customers each be “‘closely intertwined’ with Hezbollah’s acts of

    terrorism.” Id. at 10. These are (purported) pleading requirements, not an evidentiary burden

    Plaintiffs must meet before requesting discovery about a Hezbollah operative or entity; but since

    Defendants filed their brief, the District Court did decide their renewed motions to dismiss and

    rejected them soundly.

           Defendants do not suggest the Hezbollah-affiliated individuals and entities listed in

    Plaintiffs’ requests do not exist or did not maintain bank accounts in Lebanon and, by their own

    admission, they collectively “represent[] over 80% of the Lebanese banking sector.” Id. at 35. It

    stands to reason that these individuals and entities held accounts with Defendants (a fact confirmed


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    even by the disclosures that have occurred since the filing of the SAC) — demonstrating that

    Defendants’ real objection is not to the “burden” of searching their customer records but to

    Plaintiffs and the Court learning the full extent of their relationships with Hezbollah.

           Defendants also attempt to limit the types of records Plaintiffs may seek “to transactions

    that could foreseeably be tied to terrorist activity,” Defs. Mem. at 15, in some undefined way.

    Defendants argue this based on their reading of “liability under JASTA”—theories the District

    Court has now rejected twice. Principally, Defendants argue these exclude “routine commercial

    banking transactions” according to the Second Circuit’s Linde opinion. Id. The Circuit has already

    rejected this precise argument, explaining Linde’s “statement--that ‘the mere provision of “routine

    banking services to organizations and individuals said to be affiliated with” terrorists’ is not

    sufficient to show that the defendant itself committed an act of terrorism--was made ‘in the context

    of a challenge to proof of the causation element of an ATA claim.’” Kaplan, 999 F.3d at 858

    (quoting Linde v. Arab Bank, PLC, 882 F.3d 314, 327 (2d Cir. 2018)).14

           Further, the Circuit explained that it noted in Linde “that whether a defendant bank’s

    ‘financial services to [an FTO or its affiliates should or] should not be viewed as routine’ is a

    ‘question[ ] of fact for a jury to decide.’” Id. (quoting Linde, 882 F.3d at 327). Whether Defendant’s

    conduct was routine is for a jury to decide here, too, not a basis for limiting discovery. And

    although much of LCB’s conduct was certainly not routine, Kaplan makes clear that aberrational

    conduct hardly constitutes some sort of minimum requirement for a JASTA claim.

           Defendants claim Honickman came to the same conclusion; again, Defendants misstate the

    case law. Far from rejecting purportedly “routine” financial transfers alleged in that case as

    relevant to a JASTA claim, the Circuit explained that the “district court misunderstood the first



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           As in the Kaplan appeal, there is no primary liability ATA claim currently pending in this case.


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    factor” of “knowing and substantial assistance,” explaining that the factor (“nature of the act

    assisted”) “required assessing whether the alleged aid (facilitating the transfer of millions of dollars

    to the Three Customers) would be important to the nature of the injury-causing act (Hamas’s

    terrorist attacks).” Honickman v. BLOM Bank SAL, 6 F.4th 487, 500 (2d Cir. 2021). In short,

    BLOM’s alleged conduct in that case was far from clearly insufficient for JASTA liability

    purposes.

             In any event, neither Kaplan nor Honickman even remotely suggests that JASTA discovery

    is limited to transactions that are “foreseeably be tied to terrorist activity” – whatever that phrase

    means.

                    2.     Third-Party Discovery to Date Not Only Confirms Allegations
                           in the Complaint but Also Demonstrates that Defendants
                           Maintained Accounts for Hezbollah Business Affairs
                           Component Persons and Entities Not Identified in the
                           Complaint.

             Only one of the four main correspondent banks has thus far produced transactional records

    (and those have been limited to the 2003-2012 period). Yet that production and the productions by

    other correspondent banks have confirmed both the validity of Plaintiffs’ allegations concerning

    Defendants’ maintenance of bank accounts for Hezbollah-affiliated entities and individuals and

    the banks’ use of New York correspondent banks to, in many cases, effectuate large volume and

    large value transactions on their behalf. A rough preliminary calculation suggests that, exclusive

    of transactions on behalf of Lebanese exchange houses affiliated with Hezbollah, Plaintiffs

    tabulate approximately 3,000 transactions totaling $850 million during that time period for just 47

    of the 687 individuals and entities listed in Plaintiffs’ request. Those numbers include 78 customer

    accounts held by 49 accountholders at Defendant banks that are not identified in the SAC. In other

    words, this is merely the tip of the proverbial iceberg. Full Rule 26 discovery from the Defendants




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    is essential to properly gauge the magnitude of the (criminal) assistance these Defendants provided

    to Hezbollah.

                    3.      Plaintiffs’ Document Requests Should Not Be Temporally
                            Limited Because Illegal Conduct Occurring After 2011
                            Constitutes Important Circumstantial Evidence of Defendants’
                            State of Mind

             As the District Court recognized, transactional and compliance records dated after

    November 2011 are highly relevant in demonstrating each Defendant’s state of mind. It is hardly

    “bald speculation” that evidence of Defendants’ continuing criminal conduct provides

    circumstantial evidence of their awareness or a role in an ongoing criminal enterprise. Defs. Mem.

    at 17.

             Plaintiffs’ requests for records after 2011 are focused on two categories of individuals and

    entities: (1) Hezbollah-affiliated customers whose accounts migrated from Lebanese Canadian

    Bank after its collapse and (2) U.S. government-designated SDGTs affiliated with Hezbollah. For

    both categories, in its first decision, the District Court affirmed that “[t]he continued provision of

    financial services to these blacklisted account-holders certainly evinces a culpable, or at least

    willfully blind state of mind.” 2020 WL 7089448, at *14. Defendants cannot plausibly argue that

    they first decided to provide financial services to Hezbollah only after November 14, 2011, and

    subsequent to the date the U.S. government sanctioned Lebanese Canadian Bank for engaging in

    that conduct.

             For the first category, Defendants devoted three full pages to arguing that the migration

    was irrelevant, Defs. Mem. at 18-20—but the District Court already decided it was. 2020 WL

    7089448, *12. Regarding the second category – U.S. government-designated SDGTs – even in

    their opening brief, Defendants argue that “the SAC is conspicuously silent on whether any

    Moving Defendant provided financial services to any SDGT after its designation.” Defs. Mem. at



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    10 (emphasis in original).15 Clearly, Defendants believe that the closure of accounts belonging to

    SDGTs or the absence of accounts for them is exculpatory and would welcome at least selective

    discovery into those facts.

             But as both the recent Byblos Bank disclosures and the Spider Z leak concerning AQAH

    illustrate, obtaining records of financial services Defendants provided to “any SDGT after its

    designation” is highly relevant. For example, AQAH was designated an SDGT in 2007. After that

    point, it could no longer use accounts held in its own name to conduct U.S. dollar-denominated

    funds transfers through Defendant banks because the filtering software used by U.S. correspondent

    banks would have automatically blocked and frozen funds routed through the United States.

    Therefore, to continue its very substantial operations in Lebanon on behalf of Hezbollah, AQAH

    – in the words of the U.S. Treasury Department – “used the cover of personal accounts at certain

    Lebanese banks, including U.S.-designated Jammal Trust Bank (JTB), to evade sanctions targeting

    AQAH and transfer approximately half a billion U.S. dollars on behalf of AQAH.”16 Accordingly,

    evidence that certain Defendants actively assisted AQAH operatives to evade U.S. terrorism

    sanctions and transfer “half a billion U.S. dollars” after AQAH was designated in 2007 and as

    recently as last year is clearly relevant to proving a Defendant “was aware of its role (and the role

    of the Lebanese banking sector as a whole) in facilitating Hezbollah’s illicit schemes through

    which the terrorist organization funded its [Islamic Jihad Organization].” SAC, ¶ 10.




    15
             Plaintiffs disputed that in their opposition to Defendants’ motions to dismiss the SAC, but relevant here is
    that Defendants believe rendering financial services to any SDGT after its designation is particularly inculpatory.
    16
            Press Release, U.S. Dep’t of the Treasury, “Treasury Targets Hizballah Finance Official and Shadow Bankers
    in Lebanon” (May 11, 2021), available at: https://home.treasury.gov/news/press-releases/jy0170.



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            B.       Rule 26 Does Not Limit Discovery to the Contours of the Complaint

            It goes without saying that discovery is not limited to the persons or entities listed in a

    complaint. Even leaving aside plaintiffs’ limited knowledge before discovery, such a rule would

    turn complaints into directories—and, as Defendants pointed out, the SAC is long enough. See

    Defs. Mem. at 9. Indeed, discovery can reach entire issues not raised in a complaint. As the

    Supreme Court stated in Oppenheimer Fund v. Sanders:

            Consistently with the notice-pleading system established by the Rules, discovery is
            not limited to issues raised by the pleadings, for discovery itself is designed to help
            define and clarify the issues. ... Nor is discovery limited to the merits of the case,
            for a variety of fact-oriented issues may arise during litigation that are not related
            to the merits.

    437 U.S. 340, 351 (1978) (citations omitted).17 Here, of course, Plaintiffs’ document requests are

    limited to issues raised in the Complaint, and of course discovery is also not limited to particular

    persons or entities the District Court mentions in its decision denying motions to dismiss.

            The recent public disclosure of 30 Hezbollah-affiliated accounts identified and monitored

    by the compliance department at Byblos Bank demonstrates Plaintiffs’ need for discovery aimed

    at Hezbollah’s “wide-ranging” network. Of the 30 Hezbollah-affiliated accounts listed on a single

    page of Byblos Bank’s internal memorandum, only three of them were listed as the bank’s

    customers in the SAC.

            So too, the limited productions to date of transactional spreadsheets from three third-party

    correspondent banks, KBC Bank, Standard Chartered Bank and BNP Paribas have confirmed the

    accounts identified in the SAC at Defendant banks (and certain transactions) for several Hezbollah-


    17
             The 2015 amendment to Rule 26 has not altered this basic principle. See e.g., Fossil Group v. Angel Seller
    LLC, No. 20-cv-2441 (WFK)(TAM), 2021 WL 5181308, *4 (E.D.N.Y. October 22, 2021) (Merkl, M.J.) (citing
    Oppenheimer and noting that relevance must be construed broadly to encompass any matter that bears on, or that
    reasonably could lead to other matter that could bear on a party’s claim or defense). Notwithstanding Defendants’
    repeated insistence, “[t]he 2015 amendments, however, did not establish a new limit on discovery; rather they merely
    relocated the limitation from Rule 26(b)(2)(C)(iii) to Rule 26(b)(1).” Vaigasi v. Solow Mgmt. Corp., No. 11-cv-5088-
    RMB-HBP, 2016 WL 616386, at *13 (S.D.N.Y. Feb. 16, 2016) (citing cases).


                                                            39
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    affiliated individuals and entities and disclosed that Defendants maintained one or more accounts

    for at least 49 Hezbollah-affiliated persons and entities that were not previously identified in the

    SAC as linked to those specific Defendants. As the Linde court observed: “It would require a

    suspension of disbelief to conclude that the only financial services the Bank ever provided to those

    alleged by the plaintiffs to be terrorists or their affiliates are reflected in the documents that have

    been produced.” 2009 WL 8691096, at *6. Furthermore, Rule 26(b) “is liberally construed and is

    necessarily broad in scope.” New Falls Corp. v. Soni, No. 16-cv-6805 (ADS)(AKT), 2020 WL

    2836787, at *1 (E.D.N.Y. May 29, 2020) (citation omitted). There is simply no basis to arbitrarily

    constrict the scope of the highly relevant discovery sought in this case.

           C.       Plaintiffs’ Requests Are Directly Relevant to Defendants’ Liability

           As noted above, Defendants have consistently and deliberately avoided referring to one of

    the Complaint’s central allegations – their assistance to and facilitation of Hezbollah’s fundraising

    directorate, the Business Affairs Component of its Islamic Jihad Organization, which is in charge

    of terror attacks overseas.18 The Business Affairs Component oversees Hezbollah’s commercial

    funding and assists in its weapons procurement. In Defendants’ reading of the District Court’s

    initial decision on their motions to dismiss, while they stand accused of maintaining some accounts

    (156) for Hezbollah, only three of them are in any way connected to Hezbollah’s violent activities

    and therefore relevant to discovery (the Islamic Resistance Support Organization, Martyrs

    Foundation, and the Imam Khomeini Relief Committee – Lebanon). See Defs. Mem. at 13. But

    this is simply delusional. All nodes of the various interlocking networks that make up Hezbollah’s

    Business Affairs Component are part of the organization’s Islamic Jihad Organization – its terror

    apparatus.



    18
           Hezbollah’s “Social Welfare” sector is discussed in Plaintiffs’ opening brief at 4-6.


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              To cite but one example of what the District Court here summarized as money laundering

    and drug trafficking through commercial activity that “comes from certain well-known crime

    networks or ‘clans’ known to be affiliated with Hezbollah,” 2020 WL 7089448, at *1, the Tajideen

    clan runs a business empire spanning much of the globe, but with a particularly strong presence in

    southern Lebanon, Angola, and the Democratic Republic of Congo. SAC, ¶¶ 687-88. Three of the

    siblings, Kassim, Ali, and Hussein Tajideen, were designated SDGTs for their roles as Hezbollah

    fundraisers, money launderers, and financial contributors, and other siblings and family members

    also play important supporting roles in the Tajideen family’s Business Affairs Component

    network. Id., ¶¶ 688-89. All three brothers who were designated SDGTs maintained accounts at

    one of the Defendant banks. Those account records – including internal bank communications,

    memoranda, and reports – are directly relevant to Plaintiffs aiding and abetting and conspiracy

    claims.

    III.      DEFENDANTS VASTLY EXAGGERATE THE BURDEN OF IDENTIFYING
              THEIR HEZBOLLAH-AFFILIATED CUSTOMERS

              Defendants largely repeat the same mantras about the burdens of searching for and

    identifying their Hezbollah-affiliated customers. As noted above, and as illustrated by the example

    of Byblos Bank, the identities of Defendants’ Hezbollah-affiliated customers are less mysterious

    than they protest. Of the 687 names, 307 of them are corporate entities19 and while the names of

    individuals may be more difficult to search than corporate names (due to multiple spellings or

    common names), the process is far less onerous than Defendants present for a variety of reasons.




    19
             Even the limited productions from third-party correspondent banks so far strongly suggests that customer
    accounts for corporate entities are relatively easy to identify. Moreover, these banks were able to find responsive
    transactions from vastly larger data sets than those described by the Defendants. See, e.g., Issa Decl., ECF No. 284, ¶
    9. To cite just one example, third party discovery to date suggests that a single entity controlled by one of the crime
    networks or “clans” known to be affiliated with Hezbollah moved more than $100 million through just one of the
    Defendants during the 2003 to 2011 period.


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           First, nearly all the individuals listed in the requests are part of extended networks often

    transacting with each other or the corporate entities on the list. For example, there are no doubt

    several individuals named “Muhammad Bazzi” and several spellings of that name, but only one

    individual by that name is likely to receive or send funds to companies and individuals associated

    with Muhammad Bazzi’s criminal network, like Global Trading Group NV (SDGT).

           Second, these individuals are often disproportionately involved in large transactions or

    high-volume transactions that are far from ordinary for the average bank customer.

           Third, some Defendants complain that searches for individuals are difficult without any

    other information, such as the ID number, date of birth, and nationality, but the U.S. Treasury

    Department often provides at least some of that information for SDGTs. If the Court enters

    Plaintiffs’ Proposed Document Production Order, Plaintiffs will provide whatever additional

    identifying information they may have about the names on the list – just as they have done for

    third-party banks who have requested assistance.

           Lastly, as described above, Plaintiffs’ Proposed Document Production Order addresses

    Defendants’ expressed concerns about the burden of searching for and producing information and

    documents contained in hard copy by focusing mostly on electronic records.

           Defendants’ reliance on Allstate Ins. Co. v. All Cnty., LLC, No. 19-cv-7121 (WFK) (SJB),

    2020 WL 5668956 (E.D.N.Y. Sept. 22, 2020) and In re Terrorist Attacks on September 11, 2001,

    No. 03-md-1570 (GBD) (SN), 2021 WL 5449825 (S.D.N.Y. Nov. 22, 2021), does not change the

    analysis. Plaintiffs’ targeted requests for records for Hezbollah-affiliated individuals and entities

    are hardly “blanket requests for bank records that are untethered to any specific allegation in the

    complaint.” Defs. Mem. at 12. Rather, they all relate to Hezbollah’s “wide-ranging” networks, as

    set forth in the SAC and recognized in the District Court’s decisions. Moreover, Defendants’ cited




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    cases arise in very different procedural contexts.

           In Allstate, an insurance company sought to claw back payments it had made to All County,

    LLC, claiming it had failed to comply with New York licensing requirements, and was therefore

    ineligible to seek no-fault insurance payments. Allstate served third-party subpoenas on All

    County’s banks and accountant seeking not just “all of Defendants’ financial information,

    including all books and records for the past decade” but also “all documents in any way related to

    [defendant].” Id. at *1, 3. It claimed the records were relevant to determining “the illegal ownership

    and operation of All County” and justified its sweeping third-party discovery as an effort to prove

    ownership through a “money trial.” Id. at *2. Here, the records sought – customer account records,

    transactions and internal memoranda and communications concerning Hezbollah-affiliated

    persons and entities – are the most obvious means of proving the central elements of the claim:

    proving Defendants’ state of mind and substantial assistance to Hezbollah. Furthermore, unlike in

    Allstate, the RFPs are made on Defendants, not third parties (none of whom have yet moved to

    quash the subpoenas they received).

           Magistrate Judge Netburn’s ruling in In re Terrorist Attacks cited by Defendants is no more

    analogous to the circumstances here than Allstate. In that instance, the court was assessing the

    scope of jurisdictional discovery requests and noted that it “must ... be ‘limited to the essentials

    necessary to determining the preliminary question of jurisdiction’” and was further limited in scope

    “based on what was authorized in the Remand Order” from the Second Circuit. 2021 WL 5449825,

    at *2-3. Moreover, unlike the elements of aiding and abetting and conspiracy liability applicable

    here, the plaintiffs in that case sought to establish a narrow “effects test” basis for personal

    jurisdiction premised on the assertion that the defendant bank “provided financial services and

    donations to charities that it knew financially supported al Qaeda and provided financial services




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    to known extremist operatives ... with the specific intent to further al Qaeda’s terrorism against the

    United States.” Id. at *3 (emphasis added).

           Defendants inappropriately cite to the seven-year period for discovery in In re Terrorist

    Attacks and the plaintiffs’ request for hard copy searches for “57 corporate entities and all their

    associated employees and agents” and “114,000 boxes in a warehouse in Saudi Arabia” with

    contents that were not indexed or digitally searchable, as an analogous example of undue burden.

    Defs. Mem. at 23, 25. But even there, where the issue was jurisdictional discovery and the

    defendant faced the realistic prospect of tens of millions of dollars of costs, the court ordered the

    parties to meet and confer further, noting that “despite these costs, it cannot be a blanket objection

    to discovery that ARB’s files are too difficult to review.” In re Terrorist Attacks, 2021 WL

    5449825, at *11.

           The far more apt comparison to this case is Linde (which involved neither third-party

    discovery nor jurisdictional discovery), where the court ultimately ordered discovery on 15,545

    distinct sets of records for recipients of terrorism-related payments records and for 107 additional

    individuals and entities. See Schlanger Decl., Ex. C, ECF No. 270-5 (Linde May 7, 2007,

    Production Order) and Ex. D, ECF No. 270-6 (Linde Rule 1006 Trial Exhibit quantifying the

    number of individuals covered in paragraph 1 of the Linde court’s May 7, 2007, Production Order).

    The Linde order encompassed both electronic and paper records and included account opening

    records, including “all documents reflecting the identity of those having authority over, or holding

    any beneficial interest in, the account … and all other records concerning the account.” ECF No.

    270-5 at 4. As the Second Circuit later held:

           The District Court concluded, in line with this precedent, that the importance of the
           documents, the lack of available alternative means to obtain them, the specificity
           of the discovery requests, and, finally, the important U.S. and international interests
           in preventing the financial support of terrorist organizations weigh in favor of



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            producing the material at issue. Records concerning accounts held at the Bank
            and documents related to the Saudi Committee are directly relevant to whether
            Arab Bank knowingly provided banking services in support of terrorist
            operations and are thus essential to plaintiffs’ case. Arab Bank has unique access
            to the records and only Arab Bank can make a complete production.

    Linde, 706 F.3d at 115 (emphasis added). Because the Second Circuit’s analysis demonstrates that

    the document production order in Linde was appropriate, Defendants can only point to language

    in a brief submitted by the Solicitor General’s office to the U.S. Supreme Court in Linde. But the

    Solicitor General did not challenge the scope of the document production order in that case; nor

    did it criticize the Second Circuit’s application of Société Nationale. Rather, it quibbled with the

    district court’s analysis in imposing Rule 37 sanctions, but it concluded that the “interlocutory

    posture of the case also renders the effect of the sanctions difficult to assess” and therefore found

    the “court was within its discretion to decline to grant the extraordinary remedy of mandamus in

    the circumstances of this case.” Hanchet Decl., Ex. 13, ECF No. 277-13 at 11-12.

            The district court in that case later showed at length that the Solicitor General’s analysis

    was flawed,20 but the issue before this Court is limited to the threshold question of whether

    Lebanese bank secrecy should excuse Defendants from meaningful participation in discovery and,

    if not, what the proper scope of initial discovery should be. The scope of the document production

    order in Linde makes clear that Plaintiffs’ requests here are specific and directly relevant to

    whether Defendants knowingly provided banking services to Hezbollah operatives and entities and

    that only Defendants possess the records necessary to make a complete production.




    20
             The Solicitor General’s brief provides no basis for abandoning the Circuit’s analysis or rejecting the
    reasoning of the many courts that have considered, and rejected, arguments indistinguishable from those the
    Defendants advance here. For a detailed (and persuasive) explanation of why the Solicitor General’s analysis was
    flawed regarding the sanctions imposed, see Linde v. Arab Bank plc, 97 F. Supp. 3d 287, 318-19 (E.D.N.Y. 2015).



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            A.       Limited Third-Party Discovery Confirms That SWIFT Messages Can
                     Reliably Identify Accountholders and Account Numbers, and Most
                     Defendants Have Confirmed That They Possess Searchable SWIFT
                     Records

            As noted above, Plaintiffs have so far received limited productions of transactional

    spreadsheets from three third-party correspondent banks. Nevertheless, even this relatively small

    subset of transactions serves to (1) confirm several of the core allegations about Defendants’

    customers and their transactions through the United States as set forth in the SAC; (2) demonstrate

    that Defendants maintained one or more accounts for at least 49 Hezbollah-affiliated persons and

    entities that were not previously identified in the SAC as linked to those specific Defendants;21

    and (3) confirm that customer accounts (and often account numbers) can be ascertained by

    reviewing SWIFT transactional data.22

            While SWIFT transactions are by no means the only types of financial records sought or

    relevant to this case, as an electronic funds transfer system, SWIFT is an excellent starting point

    for identifying transactions, customers, account numbers and other relevant details.

            Five Defendants (SGBL, Fransabank, BLOM Bank, Byblos Bank and BBAC) have

    acknowledged that their SWIFT funds transfer records are electronically stored and searchable.

    Several other defendants, including MEAB Bank, Lebanon and Gulf Bank, BLF, Bank of Beirut,

    and Fenicia Bank have some electronically stored transactional records, but absent further

    discovery, it is not clear what the precise contours of available (or restorable) electronic data would

    be. Unsurprisingly, more recent customer and transactional data is more easily accessible for many



    21
             See Gielchinsky Decl., Ex. G which is adopted from Exhibit 15 to Defendants’ Hanchet Declaration, and
    adds the newly discovered accounts and accountholders indicated in red.
    22
             SWIFT-Brussels is a cooperative society under Belgian law owned by its member financial institutions.
    SWIFT-Brussels’s global private network, SWIFT-NET, enables financial institutions to send and receive information
    about financial transactions in various international financial markets, in a standardized message format.



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    Defendants, highlighting yet another reason Plaintiffs’ requests for more recent records pertaining

    to SDGTs and customers whose accounts migrated from LCB are not only highly relevant to

    establishing state of mind but are also the easier records to locate.

           B.      Plaintiffs’ Proposed Document Production Order Takes into Account
                   Defendants’ Purported Burden

           The parties agree that, as part of the Restatement analysis, it was “Plaintiffs’ obligation to

    serve discovery requests that were appropriately calibrated and proportional to target relevant

    evidence from each Defendant, and to seek only information ‘vital’ or ‘crucial’ to the litigation.”

    Defs. Mem. at 11 (emphasis omitted). But Defendants never acknowledge the factors Courts must

    consider in assessing the proportionality of discovery requests: (1) the importance of the issues at

    stake in the litigation; (2) the amount in controversy; (3) the parties’ relative access to relevant

    information; (4) the parties’ resources; (5) the importance of discovery in resolving issues; and (6)

    whether the burden or expense of the discovery is outweighed by the benefit. Fed. R. Civ. P. 26(b).

           Defendants neither mention nor address the fact that the litigation is brought under a

    uniquely privileged federal statute whose purpose “is to provide civil litigants with the broadest

    possible basis, consistent with the Constitution of the United States, to seek relief against persons,

    entities, and foreign countries, wherever acting and wherever they may be found, that have

    provided material support, directly or indirectly, to foreign organizations or persons that engage in

    terrorist activities against the United States.” JASTA §2(b) (emphasis added).

           And although Defendants raise proportionality over a dozen times, Defs. Mem. at 2, 7-8,

    11, 21-22, 31, 33, 39, often italicizing it, they never state how Plaintiffs’ first RFP could possibly

    be out of proportion with this massive case, whose importance is not only indicated by the nature

    of the allegations and the number of victims and the severity of their injuries (and commensurate

    damages) but is even noted in the Lebanese news report (provided to the Court by flash drive)



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    describing the murder of Byblos Bank’s Head of Compliance (discussed supra).23 Nor can they

    bring themselves to acknowledge the sheer number of Plaintiffs and the severity of their injuries

    and prospective damages (likely in the billions of dollars before statutory trebling, see 18 U.S.C.

    § 2333(a)), which so obviously warrants even the greatest expense and burden a civil case can

    justify. In short, the proportionality factors so heavily weigh in Plaintiffs’ favor in this case that

    Defendants simply ignore them.

             Even though most Defendants have not even deigned to conduct searches to confirm the

    accounts they have maintained for the Hezbollah-affiliated persons and entities identified in the

    SAC, Plaintiffs nevertheless are prepared to reduce Defendants’ theoretical burden, should they

    ultimately decide to comply even minimally with their discovery obligations. To that end,

    Plaintiffs have attached a Proposed Document Production Order as Exhibit 1.

             First, instead of ordering production of “[a]ll Account Opening Records,” “[a]ll

    Transactional Records,” “[a]ll Documents and Communications which refer or relate to payments

    made through and/or facilitated by a Defendant to the families or representatives of so-called

    ‘Martyrs’ as defined herein” and “[a]ll Communications during the time period between January

    1, 2003, and December 31, 2018, concerning Hezbollah or Agents of Hezbollah” – which would

    encompass paper records as well as electronically maintained records, the Proposed Document

    Production Order would limit productions in each of these categories to electronically maintained

    records (except for the request for Communications concerning Hezbollah which would be further

    limited to electronically searchable records.)




    23
             The report states that “in New York, in 2019, Lebanese banks began facing a lawsuit filed by the families of
    American victims in Iraq who accused Lebanese banks of monetizing and laundering funds for Hezbollah. These were
    some of the challenges facing the Lebanese banking system before the major crisis which also included requests to
    freeze the accounts of Hezbollah parliamentarians and impose sanctions on accounts.” 1:01-1:21.


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           Second, the Proposed Document Production Order would limit productions of Compliance

    Records to persons and entities that were or are customers of the Defendants and exclude

    production of account opening documents which most Defendants state have been maintained

    solely in paper form.

           In submitting the Proposed Document Production Order, Plaintiffs reserve all of their rights

    to pursue additional discovery (including all discovery set forth in their initial RFP), depending on

    the progress of discovery and the scope and content of Defendants’ document production.

    Although the importance of all requested records, the size of the case and amount in controversy

    all justify far greater burden and expense than Defendants even claim, the Proposed Document

    Production Order nevertheless reflects a compromise that addresses Defendants’ stated concerns

    about retrieving and reviewing hard copy records and focuses predominantly on their Hezbollah-

    affiliated customers without imposing unreasonable limitations on the Defendants’ searches for

    highly relevant and responsive records.

    IV.    THE COURT SHOULD DETERMINE WHETHER LEBANESE BANK SECRECY
           LAWS EXCUSE DEFENDANTS’ OBLIGATIONS UNDER F.R.C.P. 26

           A.      If Defendants Are Correct and the Restatement Factors Support Their
                   Objections to Disclosure, Then They Would Be Excused from Their
                   Obligations Under F.R.C.P. 26, but No Court Has So Held

           If a court finds that there is an actual conflict between the discovery request and foreign

    law, the court must then perform a comity analysis to decide “the weight to be given to the foreign

    jurisdiction’s law,” balancing this country’s national interests against those of the foreign

    jurisdiction. Laydon, 183 F. Supp. 3d at 413. The parties in this case do not dispute that an actual

    conflict exists between Plaintiffs’ discovery requests and Lebanon’s bank secrecy laws with




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    respect to at least some of the documents and communications sought in Plaintiffs’ requests.24

             B.       Application of the Restatement Factors Overwhelmingly Favors
                      Overruling Defendants’ Bank Secrecy Objections

             Because the Restatement factors overwhelmingly favor overruling Defendants’ Lebanese

    bank secrecy objections, the Defendants prefer to argue that it would be premature to decide the

    issue. Unsurprisingly, they therefore ignore the cases most directly on point – the Second Circuit’s

    decision in Linde and multiple district court decisions from this District. Those cases all hold that

    the U.S. interest embodied in the civil provisions of the Anti-Terrorism Act outweigh foreign

    sovereign interests in shielding financial records and related matters from disclosure in federal

    court proceedings. See Linde, 706 F.3d at 112; Linde, 463 F. Supp. 2d at 315; Wultz, 910 F. Supp.

    2d at 559; Strauss, 249 F.R.D. at 443; Weiss, 242 F.R.D. at 46, 48. But even outside the civil Anti-

    Terrorism Act context, court have often overruled foreign secrecy laws and compelled discovery.

    See, e.g., Richmark Corp. v. Timber Falling Consultants, 959 F.2d 1468, 1474-78 (9th Cir. 1992)

    (affirming order of production notwithstanding Chinese secrecy laws); British Int’l Ins. Co. v.

    Seguros La Republica, S.A., No. 90-cv-2370 (JFK) (FM), 2000 WL 713057, *8-10 (S.D.N.Y. June

    2, 2000) (declining to defer to Mexican bank secrecy law); Alfadda v. Fenn, 149 F.R.D. 28, 34-40

    (S.D.N.Y. 1993) (denying protective order sought on the ground of Swiss bank secrecy); United

    States v. Chase Manhattan Bank, N.A., 584 F. Supp. 1080, 1083-87 (S.D.N.Y. 1984) (refusing

    protective order sought on basis of Hong Kong bank secrecy law). In this case, “the U.S. interest

    ‘in fully and fairly adjudicating matters before its courts’ is combined with its interest in combating


    24
             It is far from clear that every communication by Defendants concerning Hezbollah implicates Lebanese bank
    secrecy. For example, communications about various U.S. designations or the passage of Congressional legislation or
    about revenues generated from Hezbollah generally would seem to fall outside Defendants’ stated understanding of
    Lebanese law. Moreover, Defendants’ Lebanese legal expert states that Lebanese law “prohibits the disclosure of the
    bank customers’ names, as well as their assets and affairs, and that such prohibition covered the clients’ accounts and
    any matter related to them.” Moghaizel Decl., ¶ 17 (emphasis omitted). It is unclear from Dr. Moghaizel’s declaration
    whether, in his view, financial data that redacts the bank customers’ name or other identifying information runs afoul
    of the Lebanese Bank Secrecy Act.


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    terrorism, the U.S. interest ‘is elevated to nearly its highest point, and diminishes any competing

    interests of the foreign state.’” Wultz, 910 F. Supp. 2d at 559 (quoting Strauss, 249 F.R.D. at 443).

    Accord, e.g., Weiss, 242 F.R.D. at 46.

                   1.      The Discovery Sought Is Important to the Case

           As noted above, according to Defendants, “Plaintiffs here do not meet the Rule 26 standard

    of relevance and proportionality, much less the more exacting standard imposed by the

    Restatement—that the discovery is ‘vital,’ ‘critical,’ and ‘absolutely essential’ to Plaintiffs’ case.”

    Defs. Mem. at 8-9, 39 (emphasis in original). In support, Defendants offer quotes from cases which

    do not reflect their holdings. The party contesting production in Societe Internationale did not even

    dispute the requested records’ relevancy; rather, it denied that it controlled them. See Societe

    Internationale pour Participations Industrielles et Commerciales, S. A. v. Rogers, 357 U.S. 197,

    200 (1958). The Court described the lower court’s conclusion that the records would have a “vital

    influence upon this litigation” in the context of holding that “United States courts should be free

    to require claimants of seized assets who face legal obstacles under the laws of their own countries

    to make all such efforts to the maximum of their ability where the requested records promise to

    bear out or dispel any doubt the Government may introduce as to true ownership of the assets.” Id.

    at 205. The word “crucial” in the same case cited by Defendants was used to describe the lower

    court’s order dismissing the complaint after finding that the plaintiff wrongfully refused to produce

    records which “might prove to be crucial in the outcome of this litigation.” Id. at 201. (The lower

    court then suspended that order. Id. at 202.) The other quote comes from In re Vitamins Antitrust

    Litig., which appropriately applied Rule 26’s relevancy standard: “[T]he Court does not find it

    unreasonable to require these defendants to submit to the Federal Rules for purposes of discovery,

    as long as the discovery requests are relevant and not overly burdensome or unduly intrusive.” No.




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    99-cv-197 (TFH), 2001 WL 1049433, at *5 n.7 (D.D.C. June 20, 2001). The court, however,

    requested that the plaintiffs determine whether a “small subset” of personal employee data

    requested (including home addresses and e-mail addresses), which was not unequivocally

    protected by the protective order in that case, was “absolutely essential to their case” before

    ordering it produced. Id. at *7-9.

           Defendants’ internal memoranda concerning Hezbollah-affiliated customers and their

    transactional records for these customers certainly meet “the broad scope of discovery and truth-

    seeking purpose of Rule 26(b),” as appropriately applied. Flores v. Stanford, No. 18-cv-02468

    (VB)(JCM), 2022 WL 354719, at *6 (S.D.N.Y. Feb. 7, 2022). Internal correspondence,

    memoranda and due diligence reports are indisputably the most direct evidence of each

    Defendant’s knowledge, and that information is self-evidently in Defendants’ possession and not

    available from any other source. As the court in Henkin observed, “terrorist victims and their

    families understandably do not have conclusive evidence that bank officials or compliance staff

    had actual knowledge of various red flags that could have apprised them of their customer’s

    nefarious activities.” Henkin, 495 F. Supp. 3d at 156.

           As the Complaint makes clear, Defendants all boast of their anti-money laundering

    (“AML”) and counter-financing of terrorism (“CFT”) efforts. For example, SGBL purports to have

    an Anti-Money Laundering/Counter-Financing of Terrorism (“AML/CFT”) Committee that

    assists its board with carrying out its “supervisory role with respect to fighting money laundering

    and terrorist financing and understanding the related risks.” SAC, ¶ 130. Similarly, Fransabank

    purports to have “a monitoring program for suspicious or unusual activity that covers funds

    transfers and monetary instruments” id., ¶ 151, and MEAB Bank claims that the “bank’s Anti-

    Money Laundering/Counter Terrorist Financing (AML/CFT) programs meet or exceed the




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    requirements of both the Banque du Liban and the international standards of the Financial Action

    Task Force (FATF).” Id., ¶ 173. The records of these AML/CFT committees and the reports

    generated by transaction monitoring programs concerning Hezbollah-affiliated customers are the

    kinds of documents that are most likely to reveal the degree of awareness a bank has of the nature

    of its customers and their financial activities.

            Transactional records (whether funds transfers, loans, mortgages, or letters of credit) for

    Hezbollah-affiliated customers are also obviously fundamental to ascertain how much assistance

    each Defendant provided to Hezbollah. Quoting Halberstam, the District Court noted that the

    duration of assistance “affects the quality and extent of their relationship and probably influences

    the amount of aid provided as well ….” 2020 WL 7089448, at *14 (citing Halberstam, 705 F.2d

    at 484). It went on to state that:

            Plaintiffs allege that Defendants provided banking services to the alleged
            Customers from at least 2004–2011. The Amended Complaint includes allegations
            concerning specific banking transactions that plausibly occurred within that time
            period. (E.g., Am. Compl. ¶¶ 1152.) The complaint also includes allegations of
            certain Defendants providing services to the alleged Bank Customers as far back as
            1986. (Id. ¶ 420.) Moreover, the Amended Complaint alleges that Defendants
            continued to provide services to customers even after their accounts had been
            forcibly closed at LCB. (E.g., id. ¶¶ 1512–1514.)

    Id.

            But even beyond addressing the substantial assistance element of aiding and abetting

    liability, transactional records also provide insights into the links between individuals and entities

    that form “a commercial apparatus known as the Business Affairs Component, which raises funds

    for Hezbollah via money laundering and drug trafficking, as well as via ordinary business

    enterprises.” Id. at *1.

            In sum, Plaintiffs’ requests are targeted to the most fundamental evidence necessary to

    prove their case.



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                       2.       Plaintiffs’ Requests Are Narrowly Tailored and Specific

             Defendants’ assert that “Plaintiffs’ Requests are anything but specific” and are “sweeping

    and undifferentiated,” Defs. Mem. at 39, but the opposite is self-evidently true. Plaintiffs’ requests

    are narrowly limited to Hezbollah-affiliated individuals and entities and the banks’ internal records

    pertaining to Hezbollah.25 Thus, by definition, records responsive to these specific requests will

    not sweep in irrelevant customers or irrelevant accounts. All the information sought is directly

    relevant to establishing the “wide-ranging, years-long, knowing scheme of coordination in which

    Defendants acted as Hezbollah’s core financial service-providers,” 2020 WL 7089448, at *11, and

    the SAC’s allegations that “Hezbollah operates a commercial apparatus known as the Business

    Affairs Component, which raises funds for Hezbollah via money laundering and drug trafficking,

    as well as via ordinary business enterprises.” Id. at *1.

             Because Plaintiffs’ requests are all facially specific and relevant, Defendants have invented

    limitations on relevance, arguing that Plaintiffs are only entitled to discovery of individuals or

    entities that contemporaneous public source materials show are both linked to a terrorist

    organization and closely intertwined with its terrorist activities during the relevant time period.

    See Defs. Mem. at 6, 9, 11.

             Although Defendants cite the Second Circuit’s decision in Honickman for this requirement

    in passing, see Defs. Mem. at 11, that decision says nothing approximating Defendants’ assertion.

    The language Defendants reference, 6 F.4th at 502, instead describes the insufficiency of certain


    25
              Defendants complain that Plaintiffs’ requests implicate documents “with no connection to an SDGT or any
    of the attacks identified in the SAC,” id. at 11, but two decisions by the District Court (the second citing the controlling
    Second Circuit precedent) make clear that SDGT designations are not prerequisites for liability, let alone prerequisites
    to justify discovery under the broad scope of Rule 26. The same is equally true of Defendants’ invention of a required
    connection to “any of the attacks identified in the SAC.” In Honickman, the Second Circuit made clear that a bank’s
    customers “do not themselves need to be ‘engaged in ... violent or terrorist acts’” for a bank to be liable for aiding and
    abetting acts of terrorism, let alone engaged in the specific attacks alleged to have caused harm to the plaintiffs. 6
    F.4th at 499 n.15 (citation omitted). Of course, all of the persons and entities in Plaintiffs’ requests have “connections”
    not just to various SDGTs, but to Hezbollah, a designated FTO.


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    scienter allegations in the complaint in that case. At the pleading stage, plaintiffs are required to

    include allegations of the facts or events they claim give rise to an inference of knowledge but as

    two decisions of the District Court in this case make plain, Plaintiffs have already met that burden

    here.

            More to the point, Second Circuit observed in Kaplan that [“a] complaint is allowed to

    contain general allegations as to a defendant’s knowledge because ‘a plaintiff realistically cannot

    be expected to plead a defendant’s actual state of mind.’” 999 F.3d at 864 (citations omitted). Of

    course, publicly available information may be relevant to establishing the Defendants’ knowledge

    of, or reckless disregard for, their customers’ ties to terrorism. But public source materials are just

    one way by which a plaintiff can support an inference of knowledge and, as Kaplan itself noted,

    the sufficiency of public source materials and other circumstantial evidence to support that

    inference “is a matter more appropriate for discovery.” Id. at 865.26 Relevance “has been construed

    broadly to encompass any matter that bears on, or that reasonably could lead to other matter that

    could bear on, any issue that is or may be in the case.” Oppenheimer Fund, Inc., 437 U.S. at 351.

    Taking into account the needs of the case and the importance of the proposed discovery in its

    resolution, the document requests here more than reasonably bear on Plaintiffs’ claims.

                     3.       Some of the Information Sought Originated in the United States

            To be sure, many (if not most) of the documents covered by Plaintiffs’ requests originated

    in Lebanon. These include, for example, records of Defendants’ AML/CFT committees and the

    reports generated by the banks’ transaction monitoring programs. They also include checks,

    mortgage documents and funds transfers in Lebanese Pounds. But Defendants’ assertion that they

    “are alleged to have engaged in banking conduct entirely on Lebanese soil, and Plaintiffs target


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             The Second Circuit in Honickman also agreed that public sources such as media articles that plausibly
    suggest a defendant’s knowledge “can be confirmed during discovery.” 6 F.4th at 502 n.18.


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    bank records created and stored in Lebanon,” Defs. Mem. at 41, is not accurate.

           Defendants have objected to producing both communications from the United States and

    transactional records of U.S. dollar transfers routed through U.S. correspondent banks (which

    originated in the U.S.). For example, with respect to communications from the United States,

    Lebanon and Gulf Bank objected to Plaintiffs’ Request No. 9 seeking “[a]ll Communications to

    or from the U.S. concerning the following matters: (a) Hezbollah or Agents of Hezbollah, (b) The

    persons and entities listed in Exhibit 1.” Gielchinsky Decl., Ex. H (emphasis added). It asserted,

    inter alia, an “objection to this Request to the extent that it purports to require the disclosure of

    information that LGB is restricted from disclosing under Lebanon’s Banking Secrecy Act.” Id.

    The remaining Defendants interposed similar objections either in direct response to Request No.

    9 or by incorporating their general objections which included Lebanese bank secrecy.

           With respect to a large subset of transactional documents (international funds transfer

    records of payments effectuated in U.S. dollars), records of those transactions are physically

    maintained by Defendants (either in paper or electronic form) in Lebanon and may pertain to bank

    customers in Lebanon, but some of the pertinent SWIFT message data (for example) originate in

    and/or transit through the United States and reflect transactions that cleared and settled in New

    York (as evidenced, in part, by the third-party productions from Defendants’ correspondent banks).

                   4.      There Are No Alternative Means for Securing Requested
                           Information

                           a.      Document productions by U.S. correspondent banks are
                                   useful, but are not a substitute for Rule 26 discovery.

           Defendants argue that “document productions by the correspondent banks could narrow

    the scope of Plaintiffs’ Requests by identifying individuals and entities, if any, that actually

    transacted through the United States at any relevant time period.” Defs. Mem. at 41. There are two

    obvious flaws in this statement. First, discovery in this case is not limited to transactions “through


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    the United States.” Defendants are liable for all knowing substantial assistance to Hezbollah during

    the period 2003 to 2011 regardless of whether the assistance was provided through the U.S. Indeed,

    many Hezbollah-affiliated customers maintained accounts in multiple currencies and in the case

    of Adham Hussein Tabaja, co-head of Hezbollah’s Business Affairs Component (and an SDGT),

    also obtained mortgages in Lebanon from Defendants. See, e.g., SAC, ¶¶ 648, 663 n.51.

              Second, as discussed above, productions by the correspondent banks certainly do confirm

    many of the Complaint’s allegations and identify many Hezbollah-affiliated accounts not

    previously listed in the Complaint; however, the fact that some fraction of the wrongful conduct

    alleged is reflected in the records of correspondent banks does not mean that third-party discovery

    efforts constitute a viable alternative means for securing the information Plaintiffs are entitled to

    obtain.

              Banks have different retention practices, particularly for non-customers. For example,

    third-party bank KBC has advised Plaintiffs that it was “unable to locate any relevant original

    messages, likely due to the age of the transactions.” Nothing in the Restatement balancing test

    suggests that third party subpoenas could ever be a satisfactory alternative means of securing the

    information needed in this case.

                            b.     Letters Rogatory to the Lebanese authorities do not qualify
                                   as a meaningful alternative means of discovery.

              Defendants observe that “Plaintiffs also could cooperate with the Moving Defendants’

    efforts to seek assistance from the Lebanese authorities, such as the SIC. This is precisely why the

    Moving Defendants propose approaching the SIC with a Court-endorsed request for information

    once the proper scope of discovery is determined.” Defs. Mem. at 41 (reference omitted). Setting

    aside the fact that Plaintiffs offered to cooperate with the submission of Letters Rogatory for an

    initial universe of 20 Hezbollah-affiliated individuals and entities more than eight months ago and



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    that Defendants declined that offer, both Defendants’ and Plaintiffs’ proposed schedules submitted

    in their December 10, 2021 joint letter (ECF No. 263) explicitly contemplated submission of

    Letters Rogatory to the Lebanese authorities after the Court resolves Defendants’ bank secrecy

    objections. If the Defendants’ proposed process – adopted by the Court – “is antithetical to, and

    would materially undermine, the U.S. interest in fighting terrorism” as they now baselessly assert,

    Defs. Mem. at 44, it is their own fault.

           It is worth noting, however, that even where the U.S. government had the means to obtain

    discovery through a pre-existing Mutual Legal Assistance Agreement (“MLAA”) of the kind

    Plaintiffs obviously do not have with Lebanon, the D.C. Circuit still rejected Chinese banks’

    arguments that “‘[c]omity dictates that the Chinese government at least be given an opportunity to

    comply with an MLAA request before forcing a Chinese bank to violate Chinese law on Chinese

    soil.’” In re Sealed Case, 932 F.3d 915, 933 (D.C. Cir. 2019) (citation omitted).

           In that case, China’s Central Authority, the Ministry of Justice, expressed a willingness to

    cooperate with an MLAA request from the Department of Justice, including directly

    communicating with the district court multiple times to assure it that the Ministry “would timely

    review and handle the requests for assistance sought by the DOJ in accordance with the [MLAA]

    and applicable domestic laws,” reminding the court that China has “provided effective assistance

    to the US in many cases” and that “[t]he avenue of the [MLAA] is the only legal means to obtain

    criminal evidence in China by foreign judicial agencies under Chinese laws.” Id. at 937 (citations

    and quotation marks omitted).

           The D.C. Circuit found no abuse of discretion in the district court’s decision to enforce the

    subpoenas outside the MLAA process, citing the Supreme Court’s guidance that “evidence-sharing

    arrangements set up by international agreements, although often valuable, can also prove ‘unduly




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    time consuming and expensive, as well as less certain’ than court-enforced subpoenas ‘to produce

    needed evidence.’” Id. at 938 (quoting Société Nationale, 482 U.S. at 542).

                      5.       Balancing Sovereign Interests

                               a.        The U.S. interest “is elevated to nearly its highest point.”

             It is axiomatic that the United States has “a substantial interest in fully and fairly

    adjudicating matters before its courts.” Minpeco, S.A. v. Conticommodity Services, Inc., 116 F.R.D.

    517, 523-524 (S.D.N.Y. 1987). As the court observed in Strauss, 249 F.R.D. at 443: “When that

    interest is combined with the United States’ goals of combating terrorism, it is elevated ‘to nearly

    its highest point,’ and diminishes any competing interests of the foreign state.” Accord Wultz, 910

    F. Supp. 2d at 559.

             Contrary to Defendants’ assertions, Plaintiffs do not claim that this private right of action

    is precisely equal to the U.S. government’s interest in national security, whether expressed through

    criminal or civil litigation. What Plaintiffs do assert is that this case gives expression to the highest

    U.S. national interests that can be reflected in any private lawsuit.

             First, the lawsuit is brought by wounded service members and the families of wounded and

    fallen service members who were specifically targeted by Hezbollah and the Islamic Revolutionary

    Guard Corps because they were Americans.27

             Second, the lawsuit is directed at entities that aided and abetted Hezbollah, a U.S.-

    designated terrorist organization that is fueled by money laundering and narcotics, weapons, and

    conflict diamond trafficking around the world. As the court in Strauss observed, “[t]he American


    27
              See Walter W. Heiser, Civil Litigation as a Means of Compensating Victims of International Terrorism, 3 S.
    DIEGO INT’L L. J. 1,3 (2002) (““Private parties have successfully utilized civil litigation as a means of neutralizing
    domestic hate groups. The question now is whether they can achieve similar success with respect to international
    terrorists. Success in this context is measured by two basic goals: compensating victims of international terrorism, and
    deterring future wrongful acts on the part of international terrorist organizations and their state sponsors.”), abstract
    available at https://digital.sandiego.edu/ilj/vol3/iss1/2/.



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    interest in disrupting terrorist networks with global assistance from American allies is

    unmistakable.” 249 F.R.D. at 446. The 2022 National Terrorist Financing Risk Assessment has

    noted the “particular challenge” posed by Hezbollah “because of its regular use of the

    international banking system and its significant financial resources, primarily due to the hundreds

    of millions of dollars per year provided by Iran.”28 Furthermore, Hezbollah is “able to access

    foreign financial institutions through supporters or sympathizers that willingly execute

    transactions on behalf of Hizballah leaders, facilitators, or affiliated entities.” Billingslea Decl.,

    ¶¶ 77-8 (emphasis added).

             The threat posed by the very conduct alleged in this case is so significant that the U.S.

    Treasury Department designated one of the Defendants in this case as an SDGT during the

    pendency of this action29 and Congress has passed legislation twice in the last seven years to

    address it, first with the Hizballah International Financing Prevention Act of 2015 and then with

    Hizballah International Financing Prevention Amendments Act of 2018. See Billingslea Decl., ¶¶

    70-74.

             The Hizballah International Financing Prevention Act of 2015 calls for sanctions for any

    foreign financial institution that:

             (A) knowingly facilitates a significant transaction or transactions for Hizballah; (B)
             knowingly facilitates a significant transaction or transactions of a person identified
             on the list of specially designated nationals and blocked persons ... and the property
             and interests in property of which are blocked ... for acting on behalf of or at the
             direction of, or being owned or controlled by, Hizballah; (C) knowingly engages in
             money laundering to carry out an activity described in subparagraph (A) or (B); or
             (D) knowingly facilitates a significant transaction or transactions or provides
             significant financial services to carry out an activity described in subparagraph (A),
             (B), or (C).

    28
             https://home.treasury.gov/system/files/136/2022-National-Terrorist-Financing-Risk-Assessment.pdf.
    29
              Defendant Jammal Trust Bank is not a party to the present dispute due to its pending appeal of the District
    Court’s August 6, 2021, decision denying its motions to substitute its Lebanese liquidator and dismiss the claims
    against it on sovereign immunity grounds. See Bartlett, 2021 WL 3706909 (E.D.N.Y. Aug. 6, 2021).


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    Id., ¶ 71 (citing H.R.2297 - Hizballah International Financing Prevention Act of 2015 (Public Law

    No. 114-102 (12/18/2015))). This Act reflects the United States’ policy to “(1) prevent Hizballah’s

    global logistics and financial network from operating in order to curtail funding of its domestic

    and international activities; and (2) utilize all available diplomatic, legislative, and executive

    avenues to combat the global criminal activities of Hizballah as a means to block that

    organization’s ability to fund its global terrorist activities.” Public Law No. 114-102, § 2.

           The Hizballah International Financing Prevention Amendments Act of 2018 amended the

    2015 Act and requires the President to block and prohibit all transactions in all property and

    interests in property of a foreign person determined by the President to meet one or more criteria

    in the Act. See Billingslea Decl., ¶¶ 72-74 (citing S.1595 – Hizballah International Financing

    Prevention Amendments Act of 2018, Public Law No. 115-272, 132 Stat 4144, codified at 50

    U.S.C. § 1701).

           Specifically, as relevant here, the statute directs that the President “shall impose” specific

    sanctions, including asset blocking,

           with respect to any foreign person that the President determines knowingly provides
           significant financial, material, or technological support for or to –

               (1)     Bayt al-Mal, Jihad al-Bina, the Islamic Resistance Support Association,
                       the Foreign Relations Department of Hizballah, the External Security
                       Organization30 of Hizballah, or any successor or affiliate thereof as
                       designated by the President;

               (2)     al-Manar TV, al Nour Radio, or the Lebanese Media Group, or any
                       successor or affiliate thereof as designated by the President;

               (3)     a foreign person determined by the President to be engaged in
                       fundraising or recruitment activities for Hizballah; or




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           Also known as Hezbollah’s Islamic Jihad Organization.



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               (4)     a foreign person owned or controlled by a person described in paragraph
                       (1), (2), or (3).

    Public Law No. 115-272, §§ 101, 103. These are precisely the types of individuals and entities

    identified in the Complaint and listed in Plaintiffs’ RFP.

           Third, as Mr. Billingslea – the former Assistant Secretary for Terrorist Financing and

    Financial Crimes at the U.S. Department of Treasury and former President of the Financial Action

    Task Force – states in his declaration in this case:

           The long-term U.S. policy of opposing the use of foreign bank secrecy laws to
           shield illicit activity has been implemented in international conventions and other
           mechanisms supported by the U.S. to ensure that financial records pertaining to
           financial crime, including terrorist financing, are not protected by bank secrecy and
           are available to courts, wherever located.

    Billingslea Decl., ¶ 5.

           Fourth, from its inception, the civil provisions of the Anti-Terrorism Act were intended as

    a complementary element of U.S. counter-terrorism policy. The Deputy Legal Adviser at the

    Department of State, Alan J. Kreczko, testified on behalf of the U.S. government before the Senate

    Judiciary Committee more than 30 years ago that civil suits under § 2333(a) would further U.S.

    government policy:

           The existence of such cause of action may deter terrorist groups [1] from
           maintaining assets in the United States, [2] from benefiting from investments in the
           United States, and [3] from soliciting funds from within the United States. In
           addition, [4] other countries may follow our lead and implement complementary
           national measures, thereby increasing obstacles to terrorist operations.”

    Antiterrorism Act of 1990: Hearing on S.2465, Testimony before Senate Subcomm. on Courts and

    Admin. Practice of the Senate Comm. on the Judiciary, S. Hrg. 101-1198, at 12 (1990).

           In his written statement to the Judiciary Committee accompanying this testimony, Mr.

    Kreczko elaborated on these points, explaining that “the possibility of civil damages may well




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    serve as an economic disincentive to terrorism” and also added a fifth public-policy rationale in

    support of § 2333(a), depicting it as an alternative to the strict standards of criminal prosecution:

            Moreover, the bill may be useful in situations in which the rules of evidence or
            standards of proof preclude the U.S. government from effectively prosecuting a
            criminal case in U.S. courts. Because a different evidentiary standard is involved in
            a civil suit, the bill may provide another vehicle for ensuring that terrorists do not
            escape justice.

    Id. at 18.

            Finally, Congress amended the Anti-Terrorism Act in 2016 by enacting JASTA to

    strengthen the statute further. As the Second Circuit has confirmed, “Congress’s stated purpose in

    enacting JASTA was ‘to provide civil litigants with the broadest possible basis, consistent with

    the Constitution of the United States, to seek relief against persons [and] entities ... that have

    provided material support ... to foreign organizations or persons that engage in terrorist activities

    against the United States,’ whether ‘directly or indirectly.’” Kaplan, 999 F.3d at 855 (quoting

    JASTA, Pub. L. No. 114-222, § 2(b), 130 Stat. at 853 (emphases added by the Second Circuit)).

    The stated purpose of JASTA would be negated if Plaintiffs seeking relief under the statute were

    to be prevented from proceeding with discovery in the jurisdictions where the “foreign

    organizations or persons” actually receive the material support prohibited by U.S. criminal laws.

                           b.      Lebanon’s interest in enforcing its laws does not
                                   encompass an interest in protecting the confidentiality of
                                   those who participate in the funding of international
                                   terrorism.

            Conducting an international comity analysis and balancing foreign interests against U.S.

    interests hardly constitutes “running roughshod over the sovereign interests of Lebanon” as

    Defendants hyperventilate, Defs. Mem. at 45. The schedule Defendants proposed (and the Court

    adopted) expressly contemplates that if the Court’s comity analysis results in it overruling

    Defendants’ Lebanese banks secrecy objections, Defendants will have an opportunity to submit



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    Letters Rogatory to the Lebanese authorities (including the SIC) seeking permission to disclose

    those records which the Court orders directed be produced.

            Defendants maintain that “Lebanon has an acute interest in having its bank secrecy laws

    respected.” Def. Mem. at 42. Although there is ample evidence that the “acute interest” is

    motivated by a desire to shield corruption, self-dealing and money laundering, as a formal matter,

    courts typically acknowledge a foreign sovereign’s stated interest regardless of how that interest

    manifests in practice. However, as Judge Scheindlin observed, a foreign state’s “interest in

    building confidence in its banking industry does not encompass an interest in protecting the

    confidentiality of those who participate in the funding of international terrorism.” Wultz, 910 F.

    Supp. 2d at 559.

            Plaintiffs’ requests list over 190 SDGTs and SDNTs and every individual and entity listed

    is either alleged in the SAC or separately by the U.S. government to be affiliated with Hezbollah.

    Several of the individuals listed have been directly implicated in the mass murder of American

    citizens.

            As Judge Cogan concluded:

            Vindicating the right of a convicted mass-murderer like [Abbas] Al–Sayyed to the
            privacy of his financial records over the right of his victims to compensation is not
            in the interest of any nation.

    Linde, 97 F. Supp. 3d at 321.

            Whatever the legitimate interests Lebanon may still have in its bank secrecy laws following

    the country’s recent economic collapse, vindicating the privacy right of Hezbollah operatives

    (some of them mass murderers; others, narcotics traffickers and/or human traffickers) or the

    privacy of their financial records over the rights of their victims to compensation is not in the

    interest of any nation.

            Moreover, the Complaint in this case seeks to vindicate the rights Congress has expressly


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    provided to Plaintiffs to seek redress from those who conspire with terrorist organizations and

    knowingly provided them with substantial assistance.

           As the World Bank’s Reference Guide to Anti-Money Laundering and Combating the

    Financing of Terrorism notes:

           In some jurisdictions, strong bank secrecy requirements have frequently defeated
           investigative efforts to obtain financial information required to detect crimes and
           regulatory breaches, or for tracing or confiscating assets. Such a result is contrary
           to the FATF recommended structure, which provides that financial institution
           privacy laws should not inhibit any of the FATF recommendations.

    Billingslea Decl., ¶ 41. By seeking to expose Hezbollah’s financing networks that destabilize

    Lebanon and fund its private army and cadre of terrorists, Plaintiffs’ discovery affirmatively serves

    the long-term interests of Lebanon.

                           c. The U.S. and Lebanon have a shared interest in fighting
                              terrorism.

           The unfortunate reality is that Lebanon is a failed state under the sway of a terrorist

    organization with its own private army. It is also the victim of a financial crisis authored by the

    corrupt warlords who divide a de facto spoils system and by Defendants in this case who profited

    from and helped engineer the Ponzi scheme that led to the country’s financial collapse and did so

    under the protections of Lebanon’s bank secrecy laws. Stating these facts is neither “baseless” nor

    “xenophobic,” as Defendants claim. Defs. Mem. at 53.

           Lebanon’s debt default, its refusal to impose formal capital controls (to protect depositors

    from capital flight by its privileged elite), its rolling blackouts and collapsing health care system –

    not Plaintiffs’ discovery requests – “promote instability and mistrust in a region already facing a

    very delicate political and economic climate.” Id.

           It would be absurd to wholly disregard “Hezbollah’s central role in Lebanon (e.g.,

    maintaining its own private army, controlling the Beirut International Airport and other border



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    crossings, exercising an effective veto over the Lebanese parliamentary government, and

    physically controlling significant parts of the country)” or the fact that “Lebanon has exempted

    [Hezbollah] (and other ‘resistance’ organizations) from Lebanon’s counterterrorism laws,

    effectively limiting their application to a narrow band of terrorist groups opposed by Hezbollah.”

    Billingslea Decl., ¶ 98.

           On the other hand, it is appropriate for the Court to acknowledge Lebanon’s de jure

    commitment to countering terror financing. For example, Lebanon signed a Memorandum of

    Understanding Between the Governments of the Member States of the Middle East and North

    Africa Financial Action Task Force Against Money Laundering and Terrorist Financing,

    November 30, 2004, adopting FATF’s Forty Recommendations on Money Laundering and the

    Special Recommendations on Terrorist Financing, which included a commitment to renounce bank

    secrecy as a basis for refusing requests for mutual legal assistance in money laundering and

    terrorist financing investigations. See id., ¶¶ 92-93.

           It is also proper to acknowledge Lebanon’s binding obligation under United Nations

    Security Council Resolution 1373 to “[e]nsure that any person who participates in the financing

    … of terrorist acts … is brought to justice.” Id., ¶ 113.

           Overruling Defendants’ bank secrecy objections would signal this Court’s assessment that

    the balance of interests weighs in favor of disclosing the documents requested (and ordered by the

    Court). The subsequent Letters Rogatory or other requests made to the Lebanese SIC or other

    governmental authorities would provide Lebanon with a golden opportunity to “lift Lebanese bank

    secrecy in response to inquiries from the United States and other nations investigating terrorism,”

    Defs. Mem. at 44, and demonstrate its heretofore unnoticed commitment to countering the

    financing of Hezbollah.




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           At the same time, the parts of the Lebanese banking sector represented by the 11

    Defendants could demonstrate that they are “a key ally in U.S. efforts to thwart terrorism in the

    Middle East,” Defs. Mem. at 46, by (1) engaging directly with their various correspondent banks

    and collecting all records responsive to Plaintiffs’ requests; (2) producing their communications

    and documents concerning Hezbollah that do not reference specific customers or, where they do

    reference specific customers, initially producing them with the names redacted; and (3)

    substantively respond to Plaintiffs’ First Set of Interrogatories (Gielchinsky Decl., Ex. I) which do

    not necessitate any disclosures in violation of Lebanese law, without interposing improper

    objections.31

                    6.      Defendants Have Demonstrated No Significant Hardship if
                            Forced to Produce Bank Records in Violation of Lebanese Law

                            a.       Defendants have not proffered evidence of recent
                                     prosecutions of banks.

           Defendants aver that Lebanon’s Banking Secrecy Act “is rigorously enforced,” Defs. Mem.

    at 42 (citing Moghaizel Decl. at ¶¶ 24-30), but Defendants’ expert declaration only cites a decision

    from 1960 – 62 years ago. The letter (styled as an affidavit) submitted by Mr. Kabalan of the

    Lebanese Ministry of Justice similarly avers that Lebanon takes its bank secrecy laws seriously

    and that Defendants and their employees would be subject to serious criminal sanctions as a result

    of a violation of bank secrecy. ECF No. 294-1. But this is not vastly different from the letter the

    district court received from the French Ministry of Justice in Strauss which similarly cited French

    laws prohibiting disclosure of the records sought in that case and which also cited a recent decision

    by the French Court of Appeals finding the defendant in that case guilty of violating the French

    blocking statute. The French Ministry of Justice letter stated in part:

           [A]ny search for evidence in the territory of France by foreign authorities that

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           Those interrogatory responses are due on August 10, 2022.


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           would be conducted outside a duly formalized request for judicial mutual aid would
           clearly constitute a violation of the sovereignty of the French State.

           Moreover, French criminal law prevents the search and disclosure by any person of
           economic, commercial, industrial, financial or technical documents or information
           that are to constitute evidence for foreign judicial or administrative proceedings ...
           subject to criminal penalties of imprisonment and fine.

    249 F.R.D. at 436.

           That letter did little to avail the defendant in Strauss, as it did “not state that Credit Lyonnais

    will be prosecuted if it complies with this court’s order to provide discovery. Rather, it states

    generally without specific reference to Credit Lyonnais that ‘any person’ who engages in searches

    or disclosures prohibited by the French blocking statute is ‘subject to criminal penalties ...’ and

    provides an example of the ‘particularly broad’ scope of the law.” Id. at 449. Additionally, the

    court was unpersuaded by the decision cited by the defendant, finding its facts distinguishable on

    a number of grounds. See id. at 436, 450-51.

           The single paragraph in Defendants’ expert declaration listing a criminal decision from

    1960 does not even give enough details to assess whether it has any precedential value. Also, the

    letter submitted by Mr. Kabalan similarly makes general statements that “banks and their

    employees would be subject to serious criminal sanctions as a result of a violation of banking

    secrecy,” but does not state that the Defendants would be prosecuted. In fact, Mr. Billingslea

    described how “several Lebanese banks have taken informal measures to protect the Lebanese

    banking system from Hezbollah and have on several occasions privately cooperated with the U.S.

    to prevent Hezbollah from fully exploiting the country’s financial system.” Billingslea Decl. at ¶

    64. Defendants have offered no evidence that any Lebanese bank has been criminally or civilly

    sanctioned for providing “private cooperation” to the U.S. government.

           Moreover, the Strauss court held that the protective order in that case “further lessens

    Credit Lyonnais’s potential hardship,” 242 F.R.D. at 226, a conclusion which courts continue to


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    reach. See, e.g., Laydon, 183 F. Supp. 3d at 425 (“Second, the UK’s interest in protecting the

    privacy of its citizens is mitigated by the protective order in place in this case, which permits the

    Moving Defendants to designate disclosed materials as ‘Highly Confidential.’”). So too here, the

    protective order shields confidential financial records and “lessens the potential hardship” faced

    by Defendants.

                           b.      Under Defendants’ reading of the scope of Lebanese
                                   bank secrecy, their prior public disclosure in this case of
                                   a customer account from Bank Audi violated Lebanese
                                   law.

           As noted in Plaintiffs’ opening brief, Defendants filed Exhibit B to their joint memorandum

    of law in support of their then-pending motions to dismiss (ECF No. 209-4). See Schlanger Decl.,

    Ex. M, ECF No. 270-15. That document was a non-public U.S. law enforcement communication

    to one of Bank Audi’s correspondent banks that discloses that Bank Audi held an account for a

    Hezbollah arms dealer and counterfeiter during the relevant period and specifically identifies the

    arms dealer’s account number.

           The document is significant because Defendants voluntarily produced it in support of their

    then-pending motions to dismiss – despite disclosing a customer’s name and account number at

    Bank Audi. According to Defendants’ Lebanese law expert, Mr. Moghaizel, Lebanese law

    “prohibits officers and employees of banks in Lebanon, as well as any person who might have

    access in the context of his/her professional or other capacities, to bank registers, operations or

    correspondence, such as auditors, lawyers, and notary publics, to disclose to any third parties the

    names of bank customers, information concerning their assets or transactions, or more generally

    any other information concerning the bank’s customers which became known to the

    aforementioned persons from the bank’s records. These prohibitions continue indefinitely, even

    after the closing of a bank account.” Moghaizel Decl., ¶ 16 (emphasis added).



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            Defendants argue that “[t]he document at issue is a letter from the U.S. Federal Bureau of

    Investigation (FBI) to Standard Chartered Bank in New York—it was never protected by Lebanese

    bank secrecy….” Defs. Mem. at 57 n.73. Yet at the same time that Defendant freely disclosed and

    confirmed the existence of the Bank Audi account (and account number) of Dib Harb, Defendants

    refuse to produce any records in response to RFP Nos. 832 or 933 – the very type of communication

    “from the U.S.” that Defendants have voluntarily produced when they believed it served their

    interest to do so.

            Defendants find Plaintiffs’ argument pointing this out “preposterous,” as the document was

    sent by the FBI in Philadelphia to Standard Chartered Bank in New York. But key transactional

    information travels via SWIFT messages from originator’s banks around the world, through

    SWIFT’s servers in Europe and the U.S., to correspondent banks in New York, and from those

    correspondent banks (through SWIFT) to the beneficiary banks in Lebanon (this process of course

    also occurs in reverse); indeed, this is why the third-party correspondent banks have been able to

    produce to Plaintiffs transactional information involving Defendants. Thus, for any given

    international wire transfer, information from records created around the world might be sent “to

    Standard Chartered Bank in New York,” Defs. Mem. at 57 n.73, much like the FBI letter in

    Defendants’ Exhibit B, which then passes on that information to Defendants.

            If there is some distinction under Lebanese law between disclosing a client’s name and

    account number when they are contained in an FBI letter to a New York bank from that same

    information contained in a SWIFT message, e-mail or facsimile sent by a financial institution to a



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            “All Communications during the time period between January 1, 2003, and December 31, 2018, concerning
    Hezbollah or Agents of Hezbollah.”
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            “All Communications to or from the U.S. concerning the following matters: (a) Hezbollah or Agents of
    Hezbollah; (b) the persons and entities listed in Exhibit 1.”



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    New York bank, neither Defendants nor their Lebanese law expert has disclosed it; and even

    if such a distinction exists, Defendants have not explained why they have nevertheless interposed

    objections to the same types of communications as the FBI letter on, inter alia, bank secrecy

    grounds.

            When, as here, non-producing parties make selective disclosures when it suits their

    strategic interests, their stated concerns about, e.g., the criminal penalties they face in making

    disclosures in violation of foreign law, lose much of their credibility. See, e.g., Wultz, 910 F. Supp.

    2d at 560 n.84 (citing a decision compelling production of documents, notwithstanding conflict

    with Chinese state secret law, where the foreign bank defendant’s “actions reflect[ed] a conscious

    decision to selectively disclose information pertinent to the case … only as it suits [its] litigation

    interests”).

                   7.      The Moving Defendants Cannot Be Said to Have Acted in Good
                           Faith

            As noted in Plaintiffs’ opening brief, courts in the Second Circuit also consider whether

    the party resisting discovery acted in good faith both when deciding whether to impose sanctions

    after a production order is violated and also when deciding whether to order production in the first

    place. See Strauss, 249 F.R.D. at 455-56. The burden of demonstrating good faith rests with the

    withholding party. See Societe Internationale, 357 U.S. at 201.

            Here, Defendants purport to “demonstrate” their good faith by stating that they have not

    “interpose[d] foreign law objections in bad faith, or for dilatory purposes.” Defs. Mem. at 55. But

    if professions of good faith alone were sufficient for a non-producing party to meet its burden, no

    party would ever be found wanting.

            Initially asking the Court, for example, for a schedule to “submit Letters Rogatory or

    Requests for Judicial Assistance as to initial RFPs, if necessary following rulings on discovery



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    motions … 30 days after District Court ruling on objections raised by discovery motions including

    bank secrecy,” ECF No. 263, and then arguing that it would be premature for the Court to rule on

    their bank secrecy objections before Letters Rogatory or requests are issued may or may not,

    standing alone, constitute bad faith, but as previously discussed, Defendants’ actions speak more

    forcefully.34

            When it suited their purposes, Defendants filed the non-public U.S. law enforcement

    communication discussed above, which publicly discloses a customer’s name and account number

    at Bank Audi in Lebanon. But now, when it does not suit their interests, Defendants object to

    producing the very same type of communications sent or received from the United States. See

    Tiffany (NJ) LLC v. Forbse, No. 11-cv-4976 (NRB), 2012 WL 3686289, at *20 (S.D.N.Y. August

    23, 2012) (“BOC actually strengthens the inference that it has resisted the discovery request in bad

    faith. From our view, BOC’s actions reflect a conscious decision to selectively disclose

    information pertinent to the case, and to the discovery dispute more specifically, only as it suits

    BOC’s litigation interests. Such a course of action is precisely the type of conduct that the Court

    may consider in undertaking the applicable comity analysis.”)

                                                   CONCLUSION

            The Court should adhere to the process and sequencing the parties have agreed to and that

    the Court itself ordered. In doing so, it should issue the Proposed Document Production Order

    attached herein as Exhibit 1 and overrule Defendants’ bank secrecy objections for the same reasons




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              It should not be lost on this Court that in a recent case brought by one of the Defendants’ accountholders
    trying to retrieve their funds, Defendant Bank Audi argued that Lebanese bank secrecy laws should bar discovery even
    from their U.S. correspondent banks. See, e.g., In re Al-Attabi, No. 21-mc207 (VSB)(RWL), 2022 WL 229784, at *9
    (S.D.N.Y. Jan. 26, 2022), appeal dismissed sub nom. Al – Attabi v. Bank Audi S.A.L., No. 22-524, 2022 WL 2116043
    (2d Cir. May 9, 2022). While this argument was rejected, it demonstrates that Defendants wield Lebanese bank secrecy
    tactically to suit their needs as particular litigation dictates.


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    that every court that has considered foreign law objections in Anti-Terrorism Act cases has done

    so.



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                                                       Respectfully submitted,


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